                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

In re:
                                                                   Case No. 23-49061
RICHARD HARRY CLARK,
                                                                   Chapter 13
                          Debtor.
                                              /                    Judge Thomas J. Tucker

JILLIAN CLARK,

                          Plaintiff,

vs.                                                                Adv. Pro. No. 24-4021

RICHARD HARRY CLARK,

                          Defendant.
                                             /

 OPINION REGARDING THE PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

I. Introduction

         An individual who owes a debt that is a “domestic support obligation,” as that term is

defined in the Bankruptcy Code, cannot obtain a discharge of the debt under any chapter of the

Bankruptcy Code, including Chapter 7 and Chapter 13.1 This adversary proceeding is a dispute

         1
             For example, Bankruptcy Code § 523(a)(5) states:

                  (a) A discharge under section 727, 1141, 1192[,] 1228(a), 1228(b), or
                  1328(b) of this title does not discharge an individual debtor from any
                  debt—
                  ...

                  (5) for a domestic support obligation[.]

11 U.S.C. § 523(a)(5). Bankruptcy Code § 1328 reinforces this for Chapter 13 cases. It makes clear that
a discharge under Chapter 13, whether a normal discharge under § 1328(a) or a hardship discharge under
§ 1328(b), does not discharge any debt that is a domestic support obligation under § 523(a)(5). See 11
U.S.C. §§ 1328(a)(2), 1328(c)(2). The term “domestic support obligation” is defined in Bankruptcy
Code § 14A, 11 U.S.C. § 101(14A), and the meaning of that term is discussed in Part V of this Opinion,



   24-04021-tjt       Doc 59      Filed 08/19/24      Entered 08/19/24 10:18:32            Page 1 of 54
between a Chapter 13 Debtor, Defendant Richard Clark (the “Debtor”), and his former spouse,

Plaintiff Jillian Clark (the “Plaintiff”). The dispute is whether, and to what extent, the debt that

the Debtor owes to the Plaintiff under a judgment of divorce is nondischargeable under 11 U.S.C.

§§ 523(a)(5) and 1328(a)(2), as a domestic support obligation.

         The Court held a hearing on May 15, 2024, on the Plaintiff’s motion entitled “Plaintiff’s

Motion for Summary Judgment And to Dismiss Counter-Complaint” (Docket # 20, the

“Motion”). The Court decided the Motion in part, in an Order entered on May 17, 2024 that

dismissed the Debtor’s counterclaim.2 The remainder of the Motion, in which the Plaintiff seeks

summary judgment on Count I of her complaint, is still pending. After the hearing, the Court

ordered the parties to file certain supplemental papers, and the parties did so. The Motion is now

ready for decision.

         The Court has considered all of the written arguments and exhibits filed by the parties,

including the post-hearing supplemental papers, as well as the oral arguments of the parties made

during the hearing. For the reasons stated in this Opinion, the Court will grant summary

judgment for the Plaintiff. The entire debt at issue is a domestic support obligation, so it is

entirely nondischargeable.

II. Jurisdiction

         This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and LR 83.50(a) (E.D. Mich.). With respect to every claim

pled in the Plaintiff’s Complaint (Docket # 1), and every claim pled in the Debtor’s recently


below.
         2
             “Order Dismissing Defendant’s Counterclaim” (Docket # 39).

                                                    2


  24-04021-tjt        Doc 59     Filed 08/19/24     Entered 08/19/24 10:18:32       Page 2 of 54
dismissed counterclaim (Docket # 6), this is a core proceeding under 28 U.S.C. § 157(b)(2)(I).

         In addition, this adversary proceeding falls within the definition of a proceeding “arising

under title 11” and of a proceeding “arising in” a case under title 11, within the meaning of 28

U.S.C. § 1334(b). Matters falling within either of these categories in § 1334(b) are deemed to be

core proceedings. See Allard v. Coenen (In re Trans-Industries, Inc.), 419 B.R. 21, 27 (Bankr.

E.D. Mich. 2009). This is a proceeding “arising under title 11” because it is “created or

determined by a statutory provision of title 11,” see id., namely Bankruptcy Code §§ 523(a)(5)

and 1328. And this is a proceeding “arising in” a case under title 11, because it is a proceeding

that “by [its] very nature, could arise only in bankruptcy cases.” See Allard v. Coenen, 419 B.R.

at 27.

III. Summary judgment standards

         In ruling on the Motion in this case, the Court is applying the principles applicable to

summary judgment motions, which the Court has discussed in, among prior published opinions,

the Court’s opinion in the case of Schubiner v. Zolman (In re Schubiner), 590 B.R. 362, 376-77

(Bankr. E.D. Mich. 2018). The Court incorporates that discussion into this Opinion by reference.

IV. Facts

         The relevant facts include the following, as well as additional facts stated in Part V of this

Opinion, below. Except as otherwise indicated, these facts are undisputed.

A. The Debtor and his bankruptcy case

         The Debtor is an attorney whose practice has included, among other things, many years of

representing debtors in bankruptcy cases, including many Chapter 13 cases filed in this judicial

district. The Debtor is representing himself in this adversary proceeding, and also in his


                                                   3


   24-04021-tjt     Doc 59      Filed 08/19/24     Entered 08/19/24 10:18:32         Page 3 of 54
bankruptcy case.

       The Debtor filed his bankruptcy petition on October 16, 2023, under Chapter 7 of the

Bankruptcy Code. On December 14, 2023, the Debtor filed a motion to convert the case to

Chapter 13.3 While that motion was pending, the Plaintiff filed this adversary proceeding, on

January 18, 2024. The Debtor’s conversion motion was granted, and the bankruptcy case was

converted to Chapter 13, on February 6, 2024.4

       To date, no Chapter 13 plan has been confirmed. The Debtor filed a proposed Chapter 13

plan on February 2, 2024.5 The Chapter 13 Trustee and the Plaintiff filed objections to

confirmation.6 Currently an adjourned confirmation hearing is scheduled for October 24, 2024.

B. The Debtor’s debt to the Plaintiff under the divorce judgment

       The debt owing by the Debtor to the Plaintiff is based on a judgment entitled “Judgment

of Divorce” that was entered on April 6, 2023 (the “JOD”)7 by the Circuit Court for the County

of Oakland, Michigan (the “State Court”), in the parties’ divorce case, Jillian T. Clark v. Richard

H. Clark, Case No. 21-505969-DM (the “Divorce Case”).

       The Divorce Case was lengthy and very contentious, and included 11 days of trial,8 after

which the State Court filed a 112-page written opinion, on January 17, 2023 (the “State Court



       3
           See Docket # 48 in Case No. 23-49061.
       4
           See Docket # 62 in Case No. 23-49061.
       5
           Docket # 56.
       6
           See Docket ## 72, 76 in Case No. 23-49061.
       7
           A copy of the JOD is attached as Exhibit B to the Plaintiff’s Complaint (Docket # 1-2).
       8
           See JOD (Docket # 1-2) at pdf p. 2.

                                                    4


  24-04021-tjt       Doc 59     Filed 08/19/24      Entered 08/19/24 10:18:32           Page 4 of 54
Opinion”).9 The State Court Opinion noted that the Debtor “retained seasoned and exceptionally

competent counsel to represent him in this matter.”10

        The JOD was based on the State Court Opinion, and in fact, the JOD incorporated that

opinion by reference.11 As is relevant to this adversary proceeding and the Plaintiff’s Motion, the

JOD imposed liability on the Debtor to pay to the Plaintiff the following sums, as itemized in the

Plaintiff’s second amended Proof of Claim filed in the Debtor’s bankruptcy case (Claim 6-3 in

the Claims Registry for Case No. 23-49061, the “POC”). The itemization attached to the POC

stated the following, as a list of the amounts that the Plaintiff claims are owing to her by the

Debtor under the JOD, all of which the Plaintiff contends are domestic support obligations:

                  The following is an itemization of the domestic support obligations
                  of Debtor Richard Harry Clark, pursuant to the April 6, 2023
                  Judgment of Divorce, attached hereto as Exhibit A:

                  Monthly Child Support Payments: $1,430.00

                  Monthly Spousal Support Payments: $3,300.00

                  Additional Gross [Monthly] Spousal Support Payments
                  until a total amount of $105,750.33 is paid: $1,390.65

                  The above obligations were $38,683.20 in arrears as of the filing of
                  Debtor’s [Bankruptcy] Petition on October 16, 2023. See CP
                  Financial Data Report, attached hereto as Exhibit B.

                  Property Award: $98,001.56




        9
          A copy of the State Court Opinion is attached as Exhibit A to the Plaintiff’s Complaint
(Docket # 1-1).
        10
             State Court Opinion (Docket # 1-1) at pdf p. 8.
        11
             See JOD (Docket # 1-2) at pdf pp. 2-3.

                                                      5


   24-04021-tjt       Doc 59      Filed 08/19/24      Entered 08/19/24 10:18:32        Page 5 of 54
                Debtor’s Contribution to Creditor’s Attorney Fees and Costs:
                $67,328.13

                Note that all of the above obligations were determined to be central
                to the future maintenance and support of Creditor Jillian Clark and
                the parties’ children and/or were incurred for the benefit of the
                parties and their children pursuant to the Judgment of Divorce,
                . . . .12

As stated in the POC, these itemized amounts total $204,012.89 as of the petition date in the

Debtor’s bankruptcy case.13

        The Plaintiff’s POC is correct in stating that the JOD ordered the Debtor to pay the

Plaintiff all of the foregoing amounts.14

C. The State Court stated, and clearly intended, that all components of the Debtor’s debt
   under the JOD debt were in the nature of financial support and maintenance for the
   Plaintiff and the minor children.

        The JOD stated that all of the amounts to be paid by the Debtor were intended to be in the




        12
            POC at pdf p. 4 (Claim 6-3 in the Claims Registry for Case No. 23-49061) (citation to and
quotation of page 19 of the JOD omitted) (bold in original). The Court notes that the Plaintiff’s
Complaint included certain additional obligations in the JOD that were not listed in the Plaintiff’s later
amended proof of claim (the POC, quoted above). In the Court’s view, by filing that amended proof of
claim, the Plaintiff narrowed the list of JOD obligations at issue in this adversary proceeding.
        13
            The Debtor recently filed an objection to the POC, and a hearing on that objection is currently
scheduled for August 29, 2024. (See Docket # 102 in Case No. 23-49061). The Court’s ruling on the
Plaintiff’s present Motion likely will have a significant impact on the Debtor’s pending claim objection.
        14
            See JOD (Docket # 1-2) at pdf p. 9, § IV.A.1 ($1,430.00 per month in child support, to be
reduced as each minor child reached the age of 18, or if still in high school, up to the age of 19.5 years);
pdf pp. 10-11, § V.A ($3,300.00 per month in spousal support for 90 months “or until further order of the
Court”); pdf p. 11, § V.B (“additional gross spousal support” of $1,390.65 per month “until such time as
[the Debtor] has paid the total additional gross spousal support sum of $105,750.33”); pdf p. 12,
§ VIII.B.2 (“Property Award” of $98,001.56, to be paid by the Debtor to the Plaintiff “within 90 days”);
pdf p. 18, § XI.B ($67,328.13, to be paid by the Debtor to the Plaintiff “within 90 days,” as the Debtor’s
“contribution towards Plaintiff’s attorney fees and costs incurred up through the last day of trial”).

                                                     6


   24-04021-tjt      Doc 59      Filed 08/19/24      Entered 08/19/24 10:18:32           Page 6 of 54
nature of financial support and maintenance for the Plaintiff and her children.15 The child

support and spousal support payment obligations, of course, are explicitly labeled as “support.”

And as for the spousal support payments, the JOD states:

                  The spousal support obligations in this Judgment are not
                  dischargeable in bankruptcy as they are for the support and
                  maintenance of Plaintiff and the parties’ children and [are]
                  enforceable through this Court’s powers of contempt.16

As for the $67,328.13 in attorney fees, the JOD states: “This amount shall not be dischargeable in

bankruptcy as this Court believes the obligation is central to the future maintenance and support

of Plaintiff and the minor children.”17 And as for all amounts the Debtor was obligated to pay to

the Plaintiff under the JOD, including the $98,001.56 amount labeled as a “property award,” the

JOD made clear that the State Court intended it all to be in the nature of support and

maintenance:

                  M. Non-Dischargeability of Court-Ordered Obligations. The
                  award to each party under this Judgment is assumed to be a
                  domestic obligation that is not dischargeable under the Bankruptcy
                  Code 11 USC [§] 523(a)(5). All monies each respective party may
                  owe the other pursuant to property settlement and hold harmless
                  provisions in this Judgment of Divorce shall likewise be non-
                  dischargeable in bankruptcy. In the event either party files
                  bankruptcy and it is determined that the monies said bankruptcy
                  debtor may owe to the other party is dischargeable in bankruptcy,
                  then said monies to the full extent owed the other party shall be
                  automatically converted to non-dischargeable spousal support




        15
           At the time of entry of the JOD, the parties had three minor children, ages 15, 12, and 10. (See
State Court Opinion (Docket # 1-1) at pdf p. 2). All three therefore are still minors as of this writing.
        16
             JOD (Docket # 1-2) at pdf p. 11, § V.C.
        17
             Id. at pdf p. 18, § XI.B.

                                                       7


   24-04021-tjt        Doc 59      Filed 08/19/24      Entered 08/19/24 10:18:32        Page 7 of 54
                 payable to the other party.18

       This provision made clear that even the $98,001.56 “Property Award” component of the

JOD was considered and intended by the State Court to be in the nature of support and

maintenance for the Plaintiff and her children. If it were not, it could not qualify as a

nondischargeable debt under Bankruptcy Code § 523(a)(5), as a domestic support obligation.

See discussion in Part V of this Opinion, below.

       The State Court Opinion, on which the JOD was based, also makes clear, in numerous

passages, that the State Court intended all of the Debtor’s payment obligations to the Plaintiff to

be in the nature of support and maintenance, and viewed them as necessary for the financial

support and maintenance of the Plaintiff and the children.

       For example, in discussing the two components of the spousal support award to the

Plaintiff, which the State Court called the “sporadic spousal support payments” of $3,300.00 per

month and the separate “gross spousal support” award that became $105,750.33 payable at the

rate of $1,390.65 per month,19 the State Court stated the following:

                 [A]ccording to 11 USC [§§] 523(a)(5) and (15), a domestic support
                 obligation or obligation owed for the maintenance and support of
                 the spouse and minor children, as determined in a divorce order,
                 are not dischargeable.

                 To be clear, it is this Court's intention to award spousal support in
                 gross and in sporadic payments for the maintenance and support
                 of Plaintiff Mom and the minor children. Given the extensive
                 depletion [by the Debtor] of marital assets, the secreting of what
                 was arguably separate funds in the form of a life insurance check
                 that was diminished in its entirety through gambling in [the


       18
            Id. at pdf p. 20, § XII.M (bold and underlining in original).
       19
            See State Court Opinion (Docket # 1-1) at pdf pp. 95-98.

                                                      8


  24-04021-tjt       Doc 59      Filed 08/19/24       Entered 08/19/24 10:18:32      Page 8 of 54
                 Debtor’s] FanDuel account, the sparse liquid assets currently in
                 existence, and the limited equity in the marital home, a spousal
                 support award is necessary to ensure Plaintiff Mom and the minor
                 children maintain a modest living commensurate with [the
                 Debtor’s] lifestyle. The primary purpose underlying an award of
                 spousal support is to balance the incomes and needs of the parties
                 in such a fashion whereby neither party is impoverished.20

Then, specifically with respect to the “gross” spousal support component of the spousal support

award, the State Court stated that it was “essential as an element of the spousal award to ensure

Plaintiff Mom and the minor children are able to subsist in a fashion akin to [the Debtor,]” and

that “[t]he monetary amount is crucial to Plaintiff Mom and the minor children’s maintenance

and support and shall be paid in intervals.”21

       With respect to the $67,328.13 attorney fee obligation the State Court imposed on the

Debtor, the State Court stated:

                 The Court’s award of attorney fees and costs is not only justified,
                 but it is conservative given [the Debtor’s] shenanigans throughout
                 these proceedings. As such, the Court awards a total of $67,328.13
                 in attorney fees and costs to Plaintiff Mom. . . . [S]hould [the
                 Debtor] proceed with the threatened bankruptcy petition, it is this
                 Court’s intention to preclude the discharge of those debts the
                 Court believes are central to the future maintenance and
                 support of Plaintiff Mom and the minor children, including the
                 award of attorney fees and costs.22

D. The State Court’s findings about the Debtor’s income and earning potential

       The State Court’s findings that are recounted in this Part IV.D of this Opinion are

relevant to the discussion of the “excessiveness issue” in Part V.C below.


       20
            Id. at pdf pp. 95-96 (bold in original) (footnote omitted) (citations omitted).
       21
            Id. at pdf p. 98.
       22
            Id. at pdf p. 113 (bold added).

                                                       9


  24-04021-tjt        Doc 59      Filed 08/19/24       Entered 08/19/24 10:18:32              Page 9 of 54
        In considering the amount of child support that the Debtor would be required to pay, the

State Court considered the relative earnings, and the relative earning potentials, of the Debtor and

the Plaintiff. In doing so, the State Court imputed income to each of the parties. The Plaintiff’s

imputed income was $47,500 per year, while the Debtor’s imputed income was much higher —

$225,000 per year.23 The State Court Opinion explained in great detail the basis for imputing

these income amounts to the parties.24 And the State Court found that “there is a huge disparity

in the parties’ earning potential.”25

        In imputing an income of $225,000 per year for the Debtor, the State Court found, as

required by Michigan law for imputing income, that the Debtor had “‘an actual ability and

likelihood of earning the imputed income.’”26 At one point, the State Court Opinion summarized

the income finding, in part, this way:

                   Based on [the Debtor’s] sixteen years of employment as a
                   practicing attorney performing legal work in a litany of fields, the
                   apparent availability for legal work through his affiliation with
                   New Start Legal Group, the information relative to the prevailing
                   salaries of attorneys in Michigan, the questionable circumstances
                   surrounding [the Debtor’s] purported lack of significant earnings,
                   the incongruity between [the Debtor’s] claimed limited finances
                   and his current lifestyle, and [the Debtor’s] refusal to diligently
                   seek out compensation akin to his prior earnings, the Court finds
                   [the Debtor’s] income should be imputed at $225,000.27

        23
              See JOD (Docket # 1-2) at pdf p. 9, § IV.A.1; State Court Opinion (Docket # 1-1) at pdf pp.
90, 93, 95.
        24
              See State Court Opinion (Docket # 1-1) at pdf pp. 88-94.
        25
              Id. at pdf p. 73.
        26
           See id. at pdf pp. 88-89 (citations omitted) (citing Michigan law standard and factors for
imputing income).
        27
              Id. at pdf p. 93.

                                                      10


  24-04021-tjt         Doc 59     Filed 08/19/24      Entered 08/19/24 10:18:32          Page 10 of 54
In addition, the State Court found, among other things, the following:

       • “[T]he Court is of the firm belief [the Debtor] has purposely sought to remain
       underemployed.”28

       • “Most troubling, however, is [the Debtor’s] repeated statements that he can manipulate
       his earnings on paper to reflect a lower earning potential for calculating support.”29

       • The Debtor’s “lifestyle is not akin to one who is earning at his reduced wages. . . . [The
       Debtor] repeatedly stated the dinners out and entertainment were paid for by the
       generosity of friends—friends he at times refused to identify pleading the Fifth. [The
       Debtor’s] continued level of discretionary spending also does not comport with one living
       on a limited means.”30

       • “[I]t appears [the Debtor] is merely awaiting closure of the divorce proceedings to
       cement his employment status.”31

       • “During trial, [the Debtor] testified ‘I find money for everything that’s needed[.]’”32

       • “The Court further questions whether [the Debtor] has been forthcoming with respect to
       all of his income.”33

       • “[P]rior to the filing of the divorce complaint, cash was readily available. . . . [T]he
       parties at all times had access to significant funds for their lavish vacations and
       comfortable lifestyle. The filing of the divorce was the impetus for the cashflow ceasing
       as evidenced by the vacations and significant expenditure of cash throughout the
       pandemic, including the scheduling of yet another expensive vacation out west at or about
       the time the complaint was filed.”34

       • “Although [the Debtor] indicated funds were scarce on multiple occasions, he likewise

       28
            Id. at pdf p. 90.
       29
            Id. at pdf p. 91.
       30
            Id.
       31
            Id. at pdf p. 93.
       32
            Id.
       33
            Id.
       34
            Id. at pdf p. 94.

                                                 11


  24-04021-tjt       Doc 59     Filed 08/19/24   Entered 08/19/24 10:18:32        Page 11 of 54
       expended thousands of dollars on sports memorabilia, dining out, and bottles of wine
       exceeding $100 per bottle. [The Debtor’s] proclamations were at variance with the
       lifestyle the parties enjoyed. Furthermore, when questioned regarding his resource for
       various expenses, [the Debtor] grew defensive and confrontational.”35

The State Court Opinion concluded its discussion of imputed income as follows:

                  [W]hen questioned regarding his ability to procure the marijuana
                  he smokes on an almost daily basis and the expense of the same,
                  [the Debtor] testified, “I have a deal with people, and I get
                  marijuana. I don’t have to pay for it.” Based on the Court’s
                  observations, [the Debtor] has a number of “deals” which provide
                  financial assistance, many of which he refused to testify about
                  pleading the Fifth. When merely questioned who paid for dinners
                  out with the children during the pendency of the divorce, [the
                  Debtor] stated, “I plead the Fifth. I’m not answering the question.”
                  In conjunction with the testimony regarding his regular supply of
                  marijuana, [the Debtor] spoke of his relationship with Avi Zallen
                  who not only owns a testing lab and marijuana dispensary, but for
                  whom [the Debtor] admits to having provided legal work in the
                  past. In contemplation of the evidence before the Court, and in
                  particular [the Debtor’s] lack of credibility, the Court finds an
                  imputation of income at $225,000 is reasonable and appropriate.36

V. Discussion

A. Legal principles regarding the concept of a “domestic support obligation”

       1. The statutory definition, and the Debtor’s admission that part of the debt at
          issue is a domestic support obligation

       As noted in Part I of this Opinion, above, a debt that is a “domestic support obligation” is

not dischargeable in bankruptcy. That term is defined in § 101(14A) of the Bankruptcy Code, as

follows (with the key provisions in bold below):

                  The term “domestic support obligation” means a debt that
                  accrues before, on, or after the date of the order for relief in a


       35
            Id.
       36
            Id. at pdf pp. 94-95.

                                                     12


  24-04021-tjt       Doc 59         Filed 08/19/24   Entered 08/19/24 10:18:32     Page 12 of 54
               case under this title, including interest that accrues on that debt as
               provided under applicable nonbankruptcy law notwithstanding any
               other provision of this title, that is—

                  (A) owed to or recoverable by—

                      (i) a spouse, former spouse, or child of the debtor or such
                      child’s parent, legal guardian, or responsible relative; or

                      (ii) a governmental unit;

                  (B) in the nature of alimony, maintenance, or support
                  (including assistance provided by a governmental unit) of such
                  spouse, former spouse, or child of the debtor or such child’s
                  parent, without regard to whether such debt is expressly so
                  designated;

                  (C) established or subject to establishment before, on, or after the
                  date of the order for relief in a case under this title, by reason of
                  applicable provisions of—

                      (i) a separation agreement, divorce decree, or property
                      settlement agreement;

                      (ii) an order of a court of record; or

                      (iii) a determination made in accordance with applicable
                      nonbankruptcy law by a governmental unit; and

                  (D) not assigned to a nongovernmental entity, unless that
                  obligation is assigned voluntarily by the spouse, former spouse,
                  child of the debtor, or such child’s parent, legal guardian, or
                  responsible relative for the purpose of collecting the debt.

11 U.S.C. § 101(14A) (emphasis added).

       It is undisputed that the entire debt at issue in this case is “owed to” and “recoverable by”

a “former spouse,” of the Debtor — i.e., the Plaintiff — and was “established” by a “divorce

decree.” And no part of the debt has been assigned by the Plaintiff to anyone. The issue

remaining is whether, and to what extent, the debt is “in the nature of alimony, maintenance, or


                                                  13


  24-04021-tjt    Doc 59     Filed 08/19/24       Entered 08/19/24 10:18:32       Page 13 of 54
support” of the former spouse (the Plaintiff) or the children.

       During the hearing on the Motion, the Debtor correctly conceded that two components of

his debt to the Plaintiff under the JOD are domestic support obligations — namely, the child

support payments of $1,430.00 per month, and the spousal support payments of $3,300.00 per

month. The Debtor therefore has admitted that these payment obligations are “in the nature of

alimony, maintenance or support” of the Plaintiff and her children, and the Court so finds. But

the Debtor disputes that any of the other components of his debt under the JOD are domestic

support obligations.

       2. Additional applicable legal principles

       As this Court has noted in a previous opinion, in deciding whether a debt is a domestic

support obligation (sometimes referred to as a “DSO”),

               the Court is mindful that “‘unlike the other nondischargeability
               provisions under [11 U.S.C.] § 523(a) which are construed
               narrowly, the nondischargeability provision of § 523(a)(5) is given
               a broad construction so as to promote the Congressional policy that
               favors enforcement of obligations for spousal and child support.’”
               Andrus v. Ajemian (In re Andrus), 338 B.R. 746, 752 (Bankr. E.D.
               Mich. 2006) (quoting Luman v. Luman (In re Luman), 238 B.R.
               697, 704 (Bankr. N.D. Ohio 1999)); see also Norbut v. Norbut (In
               re Norbut), 387 B.R. 199, 210 (Bankr. S.D. Ohio 2008) (same).

Hauk v. Valdivia (In re Valdivia), 617 B.R. 278, 282 (Bankr. E.D. Mich. 2020), aff’d., No. 20-

12076, 2021 WL 1940488 (E.D. Mich. May 13, 2021); see also Bailey v. Bailey (In re Bailey),

254 B.R. 901, 905 (B.A.P. 6th Cir. 2000) (“[T]he terms ‘alimony’ and ‘support’ are given a

broad construction to promote the Congressional policy that favors enforcement of obligations

for spousal and child support.”) (citation omitted)).

       This Court reiterates the following, from one of its prior opinions:


                                                 14


  24-04021-tjt    Doc 59     Filed 08/19/24      Entered 08/19/24 10:18:32      Page 14 of 54
                         Typically, the task of determining whether a debt is in the
               nature of support is to distinguish between support obligations on
               the one hand, and obligations that are “in actuality a division of
               marital property,” on the other hand. See Sorah v. Sorah (In re
               Sorah), 163 F.3d 397, 400 (6th Cir.1998). But necessarily under
               the DSO definition, there can be such a thing as a debt “established
               . . . by reason of . . . a property settlement agreement” that also is
               “in the nature of . . . support.” See 11 U.S.C. §§ 101(14A)(B) and
               101(14A)(C)(i).

                      Determining if an obligation is in the nature of
                      support in bankruptcy is a federal question. Long v.
                      Calhoun (In re Calhoun), 715 F.2d 1103, 1107 (6th
                      Cir.1983) (citations omitted). “When a court
                      determin[es] what constitutes debt “in the nature of
                      alimony, maintenance, or support” under
                      § 101(14A), the case law construing pre-BAPCPA
                      § 523(a)(5), which utilized the same language, is
                      relevant.’” In re Palmieri, [N]o. 11-51224, 2011
                      WL 6812336, at *4 (Bankr. E.D. Mich. Nov. 21,
                      2011) (quoting In re Boller, 393 B.R. 569, 574
                      (Bankr. E.D. Tenn.2008)).

               In re Larson-Asplund, 519 B.R. 682, 688 (Bankr. E.D. Mich.
               2014).

Schubiner v. Zolman (In re Schubiner), 590 B.R. 362, 392 (Bankr. E.D. Mich. 2018).

       In the Schubiner case just quoted, this Court described the applicable cases decided by the

Sixth Circuit Court of Appeals. The Court reiterates and will repeat that discussion here:

                       In the Sixth Circuit, the case law on this issue is rather
               complicated. The issue generally is governed by three decisions of
               the United States Court of Appeals for the Sixth Circuit. These
               cases all were decided before the 2005 amendments to the
               Bankruptcy Code (commonly called “BAPCPA”). The three Sixth
               Circuit cases are Long v. Calhoun (In re Calhoun), 715 F.2d 1103
               (6th Cir.1983); Fitzgerald v. Fitzgerald (In re Fitzgerald), 9 F.3d
               517 (6th Cir.1993); and Sorah v. Sorah (In re Sorah), 163 F.3d
               397 (6th Cir.1998).
               ....



                                                15


  24-04021-tjt    Doc 59     Filed 08/19/24     Entered 08/19/24 10:18:32         Page 15 of 54
                   The first of these cases, Calhoun, was decided in 1983. It
           involved a separation agreement, later incorporated into a divorce
           decree, in which the bankruptcy debtor had agreed to assume five
           loan obligations that had been jointly incurred during the marriage,
           and to hold his wife harmless for their payment. As the court
           described it, the separation agreement “characterizes this
           assumption as alimony and support although it is found in the
           section of the document labeled Division of Property. Another
           section labeled Alimony states that there shall be no alimony other
           than that provided in the debts and obligations section.” 715 F.2d
           at 1105.

                   The second of the Sixth Circuit cases, Fitzgerald, was
           decided in 1993. It involved an agreed divorce judgment that had
           obligated the bankruptcy debtor to pay $1,500 per month in
           “alimony” to his former spouse, which was “not to be reduced in
           the event [the former spouse] became gainfully employed, but
           [which was] to terminate upon her death or remarriage.” 9 F.3d at
           518. Among other things, the divorce judgment also divided the
           marital property between the parties, required the debtor to pay all
           marital debts, and required the debtor to pay his former spouse a
           lump sum of $14,000 within one year. Id. Although the divorce
           judgment also required the debtor to name his former spouse “the
           irrevocable beneficiary of a life insurance policy,” id., the
           dischargeability of that life insurance obligation was not at issue
           and was not discussed in Fitzgerald. The only issue in Fitzgerald
           was whether the debtor’s obligation to pay $1,500.00 per month in
           “alimony” payments was “actually in the nature of alimony,
           maintenance, or support,” and, therefore, nondischargeable under
           the pre-BAPCPA version of Bankruptcy Code
           § 523(a)(5)(B). And in Fitzgerald, the parties both testified that
           they intended that the obligation “was for support.” Id. at 519.

                   The third of the Sixth Circuit cases, Sorah, was decided in
           1998. In that case, the bankruptcy debtor was obligated by a
           divorce judgment to make monthly payments of $750.00 to his ex-
           spouse. The divorce judgment labeled this payment obligation as
           “maintenance,” and provided that it would cease upon the ex-
           spouse’s “death, remarriage or 62nd birthday, whichever occurs
           first.” 163 F.3d at 399. The issue was whether the debtor’s
           monthly payment obligation was “actually in the nature of alimony,
           maintenance, or support,” and, therefore, nondischargeable under
           the pre-BAPCPA version of Bankruptcy Code § 523(a)(5)(B).


                                            16


24-04021-tjt   Doc 59    Filed 08/19/24     Entered 08/19/24 10:18:32        Page 16 of 54
                  The holdings of the Calhoun, Fitzgerald, and Sorah cases,
           and the development of the law that they represent, were
           summarized well by another judge of this district in the case of
           Goans v. Goans (In re Goans), 271 B.R. 528 (Bankr. E.D. Mich.
           2001):

                          In Long v. Calhoun (In re Calhoun),715
                  F.2d 1103 (6th Cir.1983), the Sixth Circuit
                  established a four-step analysis for determining
                  when an obligation, which is not specifically
                  designated as alimony or maintenance, is
                  nonetheless in the nature of support and thus
                  nondischargeable. First, the obligation constitutes
                  support only if the state court or parties intended to
                  create a support obligation. Second, the obligation
                  must have the actual effect of providing necessary
                  support. Third, if the first two conditions are
                  satisfied, the court must determine if the obligation
                  is so excessive as to be unreasonable under
                  traditional concepts of support. Fourth, if the
                  amount is unreasonable, the obligation is
                  dischargeable to the extent necessary to serve the
                  purposes of federal bankruptcy law. Calhoun, 715
                  F.2d at 1109-10; Singer v. Singer (In re Singer), 787
                  F.2d 1033, 1036 (6th Cir.1986).

                          In Fitzgerald v. Fitzgerald (In re
                  Fitzgerald), 9 F.3d 517 (6th Cir.1993), the Sixth
                  Circuit revisited the issue of nondischargeability
                  under § 523(a)(5) and, recognizing that Calhoun
                  had been applied more broadly than intended, stated
                  that the second element of the four-part test of
                  Calhoun, commonly referred to as the “present
                  needs” test, did not apply in situations where the
                  obligation at issue was specifically denominated as
                  alimony and intended by the state court or the
                  parties as such. Id. at 520-521. See also Chism v.
                  Chism (In re Chism), 169 B.R. 163, 168
                  (Bankr.W.D.Tenn.1994); Pinkstaff v.Pinkstaff (In re
                  Pinkstaff), 163 B.R. 504, 507 (Bankr. N.D.Ohio
                  1994). The court in [Binder] v. Prager (In re
                  Prager), 181 B.R. 917 (Bankr.W.D.Tenn. 1995),
                  interpreted Fitzgerald as follows:


                                           17


24-04021-tjt   Doc 59   Filed 08/19/24     Entered 08/19/24 10:18:32       Page 17 of 54
                                 In Fitzgerald, the Sixth
                         Circuit revisited its holding in
                         Calhoun and in essence admonished
                         that the Calhoun analysis is only to
                         be applied in instances where the
                         nature of an obligation under a
                         divorce decree or marital dissolution
                         agreement is unclear; however,
                         where an obligation is labeled as
                         alimony, maintenance, or support
                         and the parties intended to create a
                         support obligation, the bankruptcy
                         court’s inquiry should end.

                  Prager, 181 B.R. at 920. See also Silverstein v.
                  Glazer (In re Silverstein), 186 B.R.85, 87
                  (Bankr.W.D.Tenn.1995) (No need to apply the four
                  step analysis of Calhoun because obligation has
                  been clearly designated by the parties as child
                  support.).

                           More recently, in Sorah v. Sorah (In re
                  Sorah), 163 F.3d 397 (6th Cir.1998), the Sixth
                  Circuit reiterated that when a state court specifically
                  labels an obligation as support, and the obligation
                  has all the indicia of support, the obligation should
                  be conclusively presumed to be a support obligation
                  by the bankruptcy court. The court stated:

                                  There is a saying that if
                         something looks like a duck, walks
                         like a duck, and quacks like a duck,
                         then it is probably a duck. In
                         determining whether an award is
                         actually support, the bankruptcy
                         court should first consider whether it
                         “quacks” like support. Specifically,
                         the court should look to the
                         traditional state law indicia that are
                         consistent with a support obligation.
                         These include, but are not necessarily
                         limited to, (1) a label such as
                         alimony, support, or maintenance in


                                            18


24-04021-tjt   Doc 59   Filed 08/19/24      Entered 08/19/24 10:18:32       Page 18 of 54
                         the decree or agreement, (2) a direct
                         payment to the former spouse, as
                         opposed to the assumption of a
                         third-party debt, and (3) payments
                         that are contingent upon such events
                         as death, remarriage, or eligibility for
                         Social Security benefits.

                                  An award that is designated
                         as support by the state court and that
                         has the above indicia of a support
                         obligation (along with any others that
                         the state support statute considers)
                         should be conclusively presumed to
                         be a support obligation by the
                         bankruptcy court. A non-debtor
                         spouse who demonstrates that these
                         indicia are present has satisfied his or
                         her burden of proving that the
                         obligation constitutes support within
                         the meaning of § 523, and is thus
                         nondischargeable. The burden then
                         shifts to the debtor spouse to
                         demonstrate that although the
                         obligation is of the type that may not
                         be discharged in bankruptcy, its
                         amount is unreasonable in light of
                         the debtor spouse’s financial
                         circumstances.

                  Sorah, 163 F.3d at 401 (citation omitted).

                          However, if the state court has not
                  specifically labeled an obligation as support, the
                  bankruptcy court “must look behind the award that
                  is made under state law and make an independent
                  factual inquiry to determine whether the award is
                  actually in the nature of support.” Harvey v.
                  McClelland (In re McClelland), 247 B.R. 423, 426
                  (Bankr.N.D.Ohio 2000). See also Luman v. Luman
                  (In re Luman), 238 B.R. 697, 705 n. 2
                  (Bankr.N.D.Ohio 1999) (When the obligation is not
                  labeled support Calhoun still applies.).


                                           19


24-04021-tjt   Doc 59   Filed 08/19/24     Entered 08/19/24 10:18:32   Page 19 of 54
                               To ascertain whether such an award is in the
                       nature of support, the bankruptcy court must first
                       determine whether the state court intended to create
                       a support obligation. Calhoun, 715 F.2d at 1109.
                       See also McClelland, 247 B.R. at 426. In
                       determining intent, the bankruptcy court may
                       consider any relevant factors, including: the nature
                       of the obligation; the structure and language of the
                       divorce decree; whether other lump sum or periodic
                       payments were also provided; the length of the
                       marriage; the relative earning powers of the parties;
                       the age, health and work skills of the parties; the
                       adequacy of support absent the obligation in
                       question; and evidence of negotiation or other
                       understandings as to the intended purpose of the
                       obligations. Calhoun, 715 F.2d at 1108 n. 7.

                       271 B.R. at 532-33.

Schubiner, 590 B.R. at 392-95 (footnote omitted).

B. All of the debts at issue are in the nature of support and maintenance of the Plaintiff
   and the minor children.

       The Court has applied the analysis required by the Sixth Circuit’s decisions in Sorah v.

Sorah (In re Sorah), 163 F.3d 397 (6th Cir. 1998), Long v. Calhoun (In re Calhoun), 715 F.2d

1103 (6th Cir. 1983), and Fitztgerald v. Fitzgerald (In re Fitzgerald), 9 F.3d 517 (6th Cir. 1993),

all of which are described in Schubiner, 590 B.R. at 392-95, quoted in Part V.A of this Opinion,

above. The Court concludes that all of the components of the debt at issue are in the nature of

support and maintenance of the Plaintiff and the minor children. The Court will discuss the debt

components in three separate groups, below.

       1. The child support, spousal support, and gross spousal support obligations all are
          in the nature of maintenance and support of the Plaintiff and the minor
          children.

       The Debtor’s obligations to pay the monthly child support, spousal support, and gross


                                                20


  24-04021-tjt    Doc 59     Filed 08/19/24     Entered 08/19/24 10:18:32        Page 20 of 54
spousal support amounts to the Paintiff are each labeled as “support” in the JOD.

       The Debtor’s monthly payment obligation to the Plaintiff of $1,430.00 is contained in

Section IV of the JOD, labeled CHILD SUPPORT FOR THE MINOR CHILDREN.”37 The

Debtor’s monthly payment obligations to the Plaintiff of $3,300.00 and $1,390.65 are both

contained in Section V of the JOD, labeled “SPOUSAL SUPPORT.”38 The $3,300.00

obligation is contained in paragraph A of Section V, labeled “Periodic Modifiable Spousal

Support Awarded to Plaintiff Mother,” and the $1,390.65 obligation is in paragraph B of

Section V, labeled “Additional Gross Spousal Support Awarded to Plaintiff.”39

       As noted in Part V.A of this Opinion, the Debtor has admitted that the child support

payments of $1,430.00 per month, and the spousal support payments of $3,300.00 per month, are

“in the nature of alimony, maintenance, or support” and the Court finds this to be correct for the

reasons stated below. But the Debtor argues that the gross spousal obligation of $1,390.65 is not

“in the nature of alimony, maintenance or support.” The Court disagrees.

       Under Sorah, bankruptcy courts must “give proper deference to state court divorce court

decrees” and must not “second-guess” state court determinations regarding alimony, maintenance

and support awards, where the state court divorce judgment has labeled an award as alimony,

maintenance, or support, and the state court has expressed on intent to create an alimony,

maintenance, or support award. See Sorah, 163 F.3d at 401-02 (relying on Fitzgerald, 9 F.3d at

521); see also Binder v. Prager (In re Prager), 181 B.R. 917, 920 (Bankr. W.D. Tenn.1995)


       37
            JOD (Docket # 1-2) at pdf pp. 9-10 (capitalization, bold, and underlining in original).
       38
            Id. at pdf pp. 10-11 (capitalization, bold, and underlining in original).
       39
            Id. (bold and underlining in original).

                                                      21


  24-04021-tjt       Doc 59      Filed 08/19/24       Entered 08/19/24 10:18:32          Page 21 of 54
(interpreting Fitzgerald, 9 F.3d at 521, to mean that “where an obligation is labeled as alimony,

maintenance, or support and the parties intended to create a support obligation, the bankruptcy

court’s inquiry should end”). Under Sorah, where an award is labeled as support, and the award

has traditional state law indicia of support including those listed in Sorah, a conclusive

presumption arises that the award is, in fact, support. In Sorah, the Sixth Circuit Court of

Appeals explained that

               [a]n award that is designated as support by the state court and that
               has the . . . [traditional state law] indicia of a support obligation
               [“includ[ing], but not necessarily limited to, (1) a label such as
               alimony, support, or maintenance in the decree or agreement, (2) a
               direct payment to the former spouse, as opposed to the assumption
               of a third-party debt, and (3) payments that are contingent upon
               such events as death, remarriage, or eligibility for Social Security
               benefits,”] (along with any others that the state support statutue
               considers) should be conclusively presumed to be a support
               obligation by the bankruptcy court. A non-debtor spouse who
               demonstrates that these indicia are present has satisfied his or her
               burden of proving that the obligation constitutes support within the
               meaning of § 523, and is thus nondischargeable.

Sorah, 163 F.3d at 401 (citing Calhoun, 715 F.2d at 1111).

       But Sorah does not require that all three indicia of support be present in order to find that

an obligation in a judgment of divorce is in the nature of alimony, maintenance, or support. If

the obligation is labeled as support, and if sufficient other state law indicia of support exist

evidencing an intent to create a support obligation, a court can find that the obligation is a

domestic support obligation under the Sorah analysis. See Hauk v. Valdivia (In re Valdivia), 615

B.R. 231, 238 (Bankr. E.D. Mich. 2020). The absence of one or more of the indicia listed in

Sorah simply means that a conclusive presumption that the obligation is support does not arise,

and “the bankruptcy court ‘must look behind the award that is made under state law and make an


                                                  22


  24-04021-tjt     Doc 59     Filed 08/19/24      Entered 08/19/24 10:18:32         Page 22 of 54
independent factual inquiry to determine whether the award is actually in the nature of support.’”

Schubiner, 590 B.R. at 395 (citations omitted); see also Andrus v. Ajemian (In re Andrus), 338

B.R. 746, 754 (Bankr. E.D. Mich. 2006) (citations omitted) (“Because all three of the Sorah

factors are not present in this case, the Court cannot conclusively presume that the Debtor and

[the non-debtor spouse] intended to create an award of support. However, the Court may resort

to other indicia as the three factors in Sorah are not exclusive.”).

       As noted above, the first three components of the Plaintiff’s Claim 6-3 (the child support,

spousal support, and gross spousal support obligations) each were expressly labeled as “support”

in the JOD and in the State Court Opinion on which the JOD was based. Also, as explained in

Part IV.C of this Opinion, it is clear from the JOD, which incorporated the extensive findings in

the State Court Opinion, that, with regard to each of these three components of the debt listed in

the Plaintiff’s proof of claim, the State Court intended to create a debt “in the nature of alimony,

maintenance, or support;” i.e., that the State Court intended to create a “domestic support

obligation” within the meaning of 11 U.S.C. § 523(a)(5). Finally, the child support, spousal

support, and gross spousal support obligations each bore two of the traditional state law indicia

of support listed in Sorah; namely, that the support payments were labeled as such under the JOD

(the first indicia), and that the support was structured so that payment would go directly to the

Plaintiff (the second indicia).

       It is true that the third Sorah indicia arguably may not be present with respect to the child

support, spousal support, and gross spousal support obligations. That indicia is that “payments

. . . are contingent upon such events as death, remarriage, or eligibility for Social Security

benefits.” But that does not undermine this Court’s conclusion that the child support, spousal


                                                  23


  24-04021-tjt     Doc 59     Filed 08/19/24      Entered 08/19/24 10:18:32        Page 23 of 54
support, and gross spousal support were for the support and maintenance of the Plaintiff and the

minor children. As discussed in Part IV.C of this Opinion, the support nature of these payments

is clearly shown by the overwhelming evidence of the State Court’s intent to create a support

obligation, and the State Court’s findings that the payments were necessary for the support and

maintenance of the Plaintiff and the children, with regard to each of these debts.

        Moreover, within this third Sorah indicia there is not an exclusive list of contingencies.

Rather, as quoted above, the Sixth Circuit stated this third indicia as “payments that are

contingent upon such events as death, remarriage, or eligibility for Social Security benefits.”

(Emphasis added). That formulation does not necessarily exclude within its coverage payments

that are specifically time-limited, as each of the payments labeled “support” are in this case.

Each of these three “support” components in the JOD is to be paid by the Debtor only for and

within a specified time frame. As described in footnote 14 of this Opinion, the monthly child

support payments are to be made only until the children reach the age of 18, or if still in high

school, up to the age of 19 years and six months. The monthly spousal support payments are to

be made only for 7.5 years (90 months), or “until further order of the [State] Court.” See

footnote 14 of this Opinion. And the Debtor has conceded that these two debt components are

domestic support obligations. The third debt component labeled as support, the monthly

payment amount labeled as “Additional Gross Spousal Support Awarded to Plaintiff” in the JOD,

which is in dispute, is also time limited, in that it is structured to be paid over a period of 6.3

years (76 months). See footnote 14 of this Opinion.40


        40
           Under the JOD, this payment obligation of $1,390.65 per month continues only until the
Debtor has paid a total of $105,750.33. See footnote 14 of this Opinion. That equates to a total payment
period of 76 months (6.3 years).

                                                   24


  24-04021-tjt     Doc 59      Filed 08/19/24      Entered 08/19/24 10:18:32         Page 24 of 54
       Given these time limits, it is not surprising that the JOD does not make the support

payments contingent on “such events as death, remarriage, or eligibility for Social Security

benefits.” Cf. Bailey v. Bailey (In re Bailey), 254 B.R. 901, 905 (B.A.P. 6th Cir. 2000) (third

Sorah indicia not applicable to debt that was “a current obligation”).

       Furthermore, with regard to the “Additional Gross Spousal Support Awarded to Plaintiff”

in the JOD, the fact that it was found in the same Section of the JOD as the other awards, which

are clearly and admittedly “support” obligations, is indicia that the State Court meant that award

to be a “support” obligation also. The support nature of this part of the JOD debt is further

shown by the following facts.

       A large portion of this “gross spousal support” was based on past due amounts that the

Debtor had been required to pay for the support and maintenance of the Plaintiff and the parties’

children, and for amounts that had already been paid by the maternal grandmother for the support

and maintenance of the parties’ children. Under the JOD, the Plaintiff was awarded, as

additional gross spousal support, $1,390.65 per month until the Debtor paid total of $105,750.33.

This amount ($105,750.33) was comprised of “past due status quo obligations as of January 30,

2023 of $34,314.00 and the amount awarded to Plaintiff in the [State Court] Opinion of

$71,436.33[.]”41 The $71,436.33 portion of the total $105,750.33 awarded was, in part,

comprised of “the $33,732.63 outstanding debt owed to the maternal grandmother expended for

the needs, care, and support of Plaintiff Mom and the minor children during the pendency of the

divorce proceedings.”42 And with regard to the remaining gross spousal support award of


       41
            JOD (Docket # 1-2) at pdf p. 11, ¶ V.B.
       42
            State Court Opinion (Docket # 1-1) at pdf p. 97.

                                                      25


  24-04021-tjt      Doc 59      Filed 08/19/24        Entered 08/19/24 10:18:32   Page 25 of 54
$37,703.70, the State Court found that it was “essential as an element of the spousal award to

ensure Plaintiff Mom and the minor children are able to subsist in a fashion akin to Defendant,”

and that it was “crucial to Plaintiff Mom and the minor children’s maintenance and support[.]”43

       An additional indicia of support is that under Michigan law, relief labeled as “spousal

support” need not be awarded to a spouse if, considering all the circumstances, “the estate and

effects awarded to” that spouse are sufficient “for the suitable support and maintenance of” that

spouse. See Mich. Comp. Laws Ann. § 552.23(1). Given this statute, the fact that spousal

support was awarded to the Plaintiff is also indicia that all of the awards labeled as “support”

actually are in the nature of support and maintenance of the Plaintiff and the minor children.

       Under Sorah, other indicia of support can include the following “‘(1) the disparity of

earning power between the parties; (2) the need for economic support and stability; (3) the

presence of minor children; and (4) marital fault.’” Bailey, 254 B.R. at 906 (quoting Luman v.

Luman (In re Luman), 238 B.R. 697, 706 (Bankr. N.D. Ohio 1999) (citing Singer v. Singer (In re

Singer), 787 F.2d 1033, 1035 (6th Cir.1986)); see also Bailey v. Bailey (In re Bailey), No. 23-

8001, 2014 WL 1511984, at *13 (B.A.P. 6th Cir. April 8, 2024).

       In this case, the State Court found that there was a significant disparity in the greater

earning power of the Debtor compared to that of the Plaintiff; the need for economic support and

stability of the Plaintiff and the children; and the presence of three minor children. See

discussion in Parts IV.C and IV.D of this Opinion. And the State Court also found numerous

instances that can be described as “marital fault” on the part of the Debtor, although it also found




       43
            Id. at pdf p. 98.

                                                 26


  24-04021-tjt       Doc 59     Filed 08/19/24   Entered 08/19/24 10:18:32         Page 26 of 54
some such fault on the part of the Plaintiff.44

        For all of these reasons, the Court must conclude that each of the three components in the

JOD that were labeled as “support” are actually in the nature of support and maintenance of the

Plaintiff and the minor children.

         2. The $98,001.56 Property Award obligation is in the nature of maintenance and
            support of the Plaintiff and the minor children.

        The debt that is listed as the “Property Award” in the amount of $98,001.56 in the

Plaintiff’s Claim 6-3 is contained in Section VIII of the JOD, labeled “PROPERTY

DIVISION.”45 Under this section of the JOD, the property that the Plaintiff was awarded

includes the following:

                  1. The real property located at 4079 Waterwheel Lane,
                     Bloomfield Township, MI 48302 and all interest, equity,
                     and contents therein. . . .

                  2. The property award payable by Defendant to Plaintiff in the
                     sum of $98,001.56 within 90 days. This sum accounts for the
                     following:

                          •   One-half of the awarded value of dissipated life
                              insurance check by Defendant of $37,703.70
                              (with the other half awarded to Plaintiff in gross
                              spousal support award above); and

                          •   Plaintiff portion awarded for the dissipated
                              assets of $90,0000; and

                          •   2019 Tax Liability of $3,297.86

                          •   Less Plaintiff share of the children’s school debt


        44
            See, e.g., State Court Opinion (Docket # 1-1) at pdf p. 2 n.1; pdf pp. 3-4, pdf p. 4 n.3; pdf p. 8
n.6; pdf p. 26; pdf pp. 32-33, 35; pdf pp. 62-66.
        45
             JOD (Docket # 1-2) at pdf pp.13-14 (bold and underlining in original).

                                                      27


  24-04021-tjt       Doc 59      Filed 08/19/24       Entered 08/19/24 10:18:32            Page 27 of 54
                              as referenced below of $33,000.46

       The property awarded to the Plaintiff in paragraph 2 above is the basis for the “Property

Award” debt amount listed in the Plaintiff’s POC. Because the “Property Award” is not

specifically labeled as support in the JOD, the Court must make an independent factual inquiry to

determine if the State Court intended for the property in paragraph 2 to be a true property

settlement, or alternatively, whether the State Court intended it to be “in the nature of alimony

maintenance or support” of the Plaintiff and the minor children.

                  An obligation not labeled as support nevertheless may fall within
                  the definition of domestic support obligation. See Long v. Calhoun
                  (In re Calhoun), 715 F.2d 1103, 1107 (6th Cir. 1983) (enunciating
                  a four-part analysis for determining whether an award that is not
                  specifically designated as alimony, maintenance, or support (under
                  the pre-BAPCPA version of the Code) was actually in the nature of
                  support and, therefore, nondischargeable under § 523(a)). The
                  Sixth Circuit Bankruptcy Appellate Panel reiterated the required
                  analysis in In re Thomas, 511 B.R. 89, 95 (B.A.P. 6th Cir. 2014),
                  aff’d, 591 F. App’x 443 (6th Cir. 2015) (quoting Fitzgerald v.
                  Fitzgerald (In re Fitzgerald), 9 F.3d 517, 520 (6th Cir. 1993)
                  (citing Calhoun, 715 F.2d at 1109–10)):

                         First, the obligation constitutes support only if the
                         state court or parties intended to create a support
                         obligation. Second, the obligation must have the
                         actual effect of providing necessary support. Third,
                         if the first two conditions are satisfied, the court
                         must determine if the obligation is so excessive as
                         to be unreasonable under traditional concepts of
                         support. Fourth, if the amount is unreasonable, the
                         obligation is dischargeable to the extent necessary
                         to serve the purposes of federal bankruptcy law.

Bailey v. Bailey (In re Bailey), No. 23-8001, 2024 WL 1511984, at *11 (B.A.P. 6th Cir. Apr. 8,

2024) (footnote omitted)).


       46
            Id.

                                                  28


  24-04021-tjt       Doc 59     Filed 08/19/24    Entered 08/19/24 10:18:32       Page 28 of 54
        Each of the sums that make up the property awarded under paragraph 2 in the “Property

Division” part of the JOD, quoted above, is lacking two of the three indicia of support listed in

Sorah. None of these payment amounts is explicitly labeled as alimony, maintenance, or support

(the first indicia); and none of them are “contingent upon such events as death, remarriage, or

eligibility for Social Security benefits” (the third indicia). In general, but not in this case, the

absence of these indicia might indicate a property settlement, rather than support. See, e.g.,

Andrus v. Ajemian (In re Andrus), 338 B.R. 746, 754 (Bankr. E.D. Mich. 2006).

        The JOD does provide for a direct payment to the Plaintiff as opposed to the assumption

of a third-party debt (the second indicia), with regard to at least the $37,703.70, and $90,000.00

portions of the awards in paragraph 2. Only the $3,297.86 portion of the property award under

paragraph 2 requires the Debtor to assume the 2017 tax liability and hold the Plaintiff harmless

for such obligation.

        Despite missing some of the indicia of support listed in Sorah, there is sufficient other

indicia of support in the JOD and the State Court Opinion to establish that the State Court

intended all of these obligations designated as a “Property Award” to be “in the nature of

alimony, maintenance, or support.”

        First, as noted in Part IV.C of this Opinion, Section XII of the JOD, entitled

“MISCELLANEOUS PROVISIONS” contains paragraph M, entitled “Non-Dischargeability

of Court Ordered Obligations,” which unambiguously expresses the State Court’s intent that

“[t]he award to each party under [the JOD] is assumed to be a domestic obligation that is not

dischargeable under the Bankruptcy Code 11 USC [§] 523(a)(5).”47 This sentence clearly

        47
             JOD (Docket # 1-2) at pdf p. 20.

                                                   29


  24-04021-tjt       Doc 59     Filed 08/19/24     Entered 08/19/24 10:18:32          Page 29 of 54
expresses the State Court’s intent that, regardless of in where in the JOD an award is found, and

regardless of how an award is labeled, each and every award, including the award under the

“Property Division” section of the JOD, is “in the nature of alimony, maintenance or support.”

And Paragraph M even states: “All monies each respective party may owe the other pursuant to

the property settlement and hold harmless provisions of this [JOD] shall likewise be non-

dischargeable in bankruptcy.”48

       Such blanket statements in Paragraph M by the State Court, standing alone, would not

necessarily be sufficient for the Court to find that the Property Award under paragraph 2 is a

“support” obligation. In one bankruptcy case from this district, the court did not view a

statement like this as probative. See Andrus, 338 B.R. at 753-56 (reasoning that on the facts in

that case, similar language in a divorce judgment did not “tend to show the [d]ebtor’s obligations

to be either more or less in the nature of alimony or support”). But this Court views such

language in the JOD as relevant evidence, tending to show that the Property Award and other

debt obligations of the Debtor to the Plaintiff are in the nature of support.

       In this case, there is much more than just the blanket statements in paragraph M to show

that the State Court intended the Property Award as in the nature of “alimony, maintenance or

support.”

       The reasoning of the State Court in making the “Property Award,” and in intending it to

be in the nature of “alimony, maintenance or support,” is that there were “sparse liquid assets

currently in existence,” and “limited equity in the marital home,” and as a result, there were few

assets to divide between the parties, because the Debtor had dissipated most of the marital


       48
            Id. (emphasis added).

                                                 30


  24-04021-tjt      Doc 59     Filed 08/19/24    Entered 08/19/24 10:18:32       Page 30 of 54
assets.49 There were so few marital assets remaining due to the Debtor’s wrongful conduct, that

the State Court even found that it was necessary to invade the Debtor’s separate property and

award it to the Plaintiff, in order to provide necessary maintenance and support for the Plaintiff

and the minor children. The Debtor’s separate property included a $75,407.40 inheritance, in the

form of a life insurance benefit that the Debtor received while the divorce case was pending, then

dissipated, and then only later disclosed. The State Court explained that it had the statutory

authority to invade the separate property of the Debtor, because it was necessary to do so to

provide support for the Plaintiff and the minor children:

                         First and foremost, the [State] Court is called upon to
                 decipher what is separate property versus what is marital property.
                 Reeves v Reeves, [575 N.W.2d 1, 3,] 226 Mich[. Ct.] App[.] 490,
                 493-494 (1997). Marital property includes property that was
                 acquired or earned during the course of the marriage, whereas
                 separate property is typically that which was obtained or earned
                 before the marriage. Cunningham v. Cunningham, [795 N.W.2d
                 826, 830,] 289 Mich[. Ct.] App[.] 195, 210 (2010). Absent a
                 scenario where one spouse significantly contributed to the
                 acquisition, improvement or accumulation of separate property, or
                 a scenario where invasion of the separate property is
                 appropriate for the support of the other spouse, the court’s
                 authority to invade separate assets is curtailed by statutory
                 authority. See [Mich. Comp. Laws §] 552.401 and [Mich. Comp.
                 Laws §] 522.23.50 In other words, absent limited circumstances,

       49
            See State Court Opinion (Docket # 1-1) at pdf pp. 72-73, 96.
       50
             Mich. Comp. Laws § 552.23(1) states:

                 (1) Upon entry of a judgment of divorce or separate maintenance, if
                 the estate and effects awarded to either party are insufficient for the
                 suitable support and maintenance of either party and any children
                 of the marriage who are committed to the care and custody of either
                 party, the court may also award to either party the part of the real and
                 personal estate of either party and spousal support out of the real and
                 personal estate, to be paid to either party in gross or otherwise as the
                 court considers just and reasonable, after considering the ability of either

                                                     31


  24-04021-tjt      Doc 59      Filed 08/19/24       Entered 08/19/24 10:18:32            Page 31 of 54
              each party will walk away with their separate assets without
              invasion by the other. Reeves, [575 N.W.2d at 3, 226 Mich. Ct.
              App.] at 494. . . . .

                      Notwithstanding the general presumption that income
              earned during the duration of the marriage is deemed marital
              property, some property earned or acquired during the marriage
              may be categorized as separate property. See Cunningham, [795
              N.W.2d at 830, 289 Mich. Ct. App.] at 201 (citing Byington, 568
              N.W.2d at 146-47, 224 Mich. Ct. App.] at 112). For instance, an
              inheritance received by one spouse during the marriage, provided it
              is kept separately maintained from the marital property, generally
              is classified as separate property. Dart v[.] Dart, [597 N.W.2d 82,
              87,] 460 Mich[.] 573, 584-585 (1999). . . . .

                      Pursuant to statutory authority, a court may nonetheless
              invade the separate assets of a party under certain circumstances.
              See [Mich. Comp. Laws §] 552.23. Relevant to these
              proceedings is [Mich. Comp. Laws §] 552.23(1) which permits
              the invasion of separate property when following the division
              of the marital assets, “the estate and effects awarded to either
              party are insufficient for the suitable support and maintenance
              of either party.” Reed [v.] Reed, [693 N.W.2d 825, 839,] 265
              Mich[. Ct.] App[.] 131, 152 (2005) (quoting Korth, [662 N.W.2d at
              115, 256 Mich. Ct. App.] at 291). Simply stated, invasion of one’s
              separate assets is appropriate when “one party demonstrates
              additional need.” Reeves, [575 N.W.2d at 3, 226 Mich. Ct. App.]
              at 494. As noted extensively above, the facts and circumstances
              surrounding [the Debtor]’s disposition of the $75,407 inheritance
              were highly suspect. The “need” component is also clearly
              satisfied, particularly in light of [the Debtor]’s conduct in
              depleting essentially all of the marital estate. At present, the
              marital estate is comprised of very limited assets, and without
              question, the Court would have invaded [the Debtor]’s inheritance
              and included it in the distribution between the parties. With the
              exception of the marital home, there are no tangible assets


              party to pay and the character and situation of the parties, and all the
              other circumstances of the case.

(Emphasis added).



                                                   32


  24-04021-tjt      Doc 59   Filed 08/19/24        Entered 08/19/24 10:18:32             Page 32 of 54
                  remaining, and based on [the Debtor]’s dissipation of the marital
                  estate, the Court finds an award in Plaintiff Mom’s favor for the
                  entire inheritance of $75,407.40 is appropriate.51

        The State Court’s many statements and its reasoning clearly show that the State Court

intended the “Property Award” of $98,001.56 to be in the nature of support. And certainly the

State Court Opinion and JOD show that such payment obligation by the Debtor has the actual

effect of providing necessary support. This Court must conclude that it is an obligation in the

nature of support.

        3. The $67,328.13 obligation for the “Debtor’s Contribution to Creditor’s Attorney
           Fees and Costs” is in the nature of maintenance and support of the Plaintiff and
           the minor children.

        The $67,328.13 obligation for the “Debtor’s Contribution to Creditor’s Attorney Fees and

Costs” is contained in section XI of the JOD, entitled “ATTORNEY/EXPERT FEES,” which

states, in relevant part:

                         B. Defendant shall pay to Plaintiff the sum of $67,328.13
                  within 90 days as his contribution towards Plaintiff’s attorney fees
                  and costs incurred up through the last day of trial. This amount
                  shall not be dischargeable in bankruptcy as this Court believes
                  the obligation is central to the future maintenance and support
                  of Plaintiff and the minor children.52

        The common meaning of “central” is “of primary importance: ESSENTIAL,




        51
             State Court Opinion (Docket # 1-1) at pdf pp. 71-73 (emphasis added).
        52
             JOD (Docket # 1-2) at pdf p. 18 (bold and italics added).

                                                     33


  24-04021-tjt       Doc 59      Filed 08/19/24      Entered 08/19/24 10:18:32       Page 33 of 54
PRINCIPAL[,]”53 or the “most important part of something[.].”54 Not only did the State Court

expressly state in the JOD that the award of attorney fees and costs to the Plaintiff was for the

“the future maintenance and support of the Plaintiff and the minor children,” but the State Court

further stated that such award was “central” or essential to providing such support. In addition to

calling the award “support,” the State Court expressly stated that its award of attorney fees and

costs to the Plaintiff was not dischargeable in bankruptcy. This is further strong indicia that the

State Court intended the award of attorney fees and costs as being in the nature of support. And

paragraph M of Section XII of the JOD, entitled “Non-Dischargeability of Court Ordered

Obligations,”55 clearly applies to all awards to either party under the JOD, including the award

of attorney fees and costs to the Plaintiff.

          The State Court’s reasoning and findings in support of the award of attorney fees and

costs further shows the support nature of this obligation.

          The State Court noted that “in her complaint and at [the] time of trial, [the] Plaintiff Mom

requested an award of attorneys fees[,] and “allege[d that such] fees were sought [under Mich.

Comp. Laws § 552.13 and Michigan Court Rules 3.206(D)(2)(a) and 3.206(D)(2)(b),] not only

on the basis of need, but as a sanction for [the Debtor’s] duplicitous behavior.”56

          53
          “Central.” Merriam-Webster.com Dictionary, Merriam-Webster,
https://www.merriam-webster.com/dictionary/central. Accessed 7 Aug. 2024 (capitalization in original).
          54
               “ Central.” Cambridge Dictionary,
https://dictionary.cambridge.org/us/dictionary/english/central. Accessed 7 Aug. 2024.
          55
               See Part IV.C of this Opinion.
          56
               State Court Opinion (Docket # 1-1) at pdf p. 98 (emphasis added). Mich. Comp. Laws 552.13
states:

                    Sec. 13. (1) In every action brought, either for a divorce or for a

                                                         34


  24-04021-tjt         Doc 59      Filed 08/19/24        Entered 08/19/24 10:18:32        Page 34 of 54
        The State Court awarded attorney fees and costs based on both (1) a finding of need on

the part of the Plaintiff, as required by Mich. Ct. R. 3.206(D)(2)(a); and (2) a finding that the

Debtor’s contemptuous failure to comply with orders of the State Court caused much of the

billed attorney fees, as required by Mich. Ct. R. 3.206(D)(2)(b).57 The State Court explained:


                 separation, the court may require either party to pay alimony for the
                 suitable maintenance of the adverse party, to pay such sums as shall
                 be deemed proper and necessary to conserve any real or personal
                 property owned by the parties or either of them, and to pay any sums
                 necessary to enable the adverse party to carry on or defend the
                 action, during its pendency. It may award costs against either party
                 and award execution for the same, or it may direct such costs to be paid
                 out of any property sequestered, or in the power of the court, or in the
                 hands of a receiver.

                 (2) An award of alimony may be terminated by the court as of the date
                 the party receiving alimony remarries unless a contrary agreement is
                 specifically stated in the judgment of divorce. Termination of an award
                 under this subsection shall not affect alimony payments which have
                 accrued prior to that termination.

(Emphasis added).
        57
             Michigan Court Rule 3.206(D) states:

                   (D) Attorney Fees and Expenses
.
                 (1) A party may, at any time, request that the court order the other party
                 to pay all or part of the attorney fees and expenses related to the action
                 or a specific proceeding, including a post-judgment proceeding.

                 (2) A party who requests attorney fees and expenses must allege facts
                 sufficient to show that:

                         (a) the party is unable to bear the expense of the action,
                         including the expense of engaging in discovery appropriate for
                         the matter, and that the other party is able to pay, or

                         (b) the attorney fees and expenses were incurred because the
                         other party refused to comply with a previous court order,
                         despite having the ability to comply, or engaged in discovery
                         practices in violation of these rules.


                                                     35


    24-04021-tjt     Doc 59     Filed 08/19/24       Entered 08/19/24 10:18:32           Page 35 of 54
                   Mich. Ct. R. 3.206(D)(2) provides for the award of attorney fees
                   when one party is unable to bear the expense of the action and the
                   other party is able to pay and/or when attorney fees are incurred as
                   a result of a party’s refusal to comply with a court’s order despite
                   having the ability to be compliant.58

The State Court stated, with regard to its award of attorney fees and costs to the Plaintiff:

        •     The State Court had “conducted not one but two show cause hearings and found [the
              Debtor] in contempt for the blatant violations of this Court’s prior orders.”59

        •     “Based on the evidence presented to this Court, the Court found [the Debtor] culpable
              for continued violations of the Court’s orders.”60

        •     “[J]ustification for an award of attorney fees in Plaintiff Mom favor is twofold. As the
              stay-at-home parent for the past fifteen years, Plaintiff Mom was not privy to financial
              resources apart from the marital assets. Although she was able to borrow funds from
              the maternal grandmother, Plaintiff Mom did not have ready access to income or
              other resources for the payment of legal counsel. [The Debtor], throughout the
              entirety of the marriage, maintained control over the parties’ finances, and his
              testimony regarding a gift of $30,000 from his now deceased father for the initial
              retainer to counsel is quite frankly not believable to this Court.”61

        •     “As noted in great detail above, [the Debtor] accessed and expended hundreds of
              thousands of dollars for his sole financial benefit and to the detriment of Plaintiff
              Mom. While he ensured he had a roof over his head at the hotel, in an expensive
              90-day Sylvan Lake Airbnb, in a prepaid one-year lease on a Waterford rental, and
              most recently, in a prepaid lease on a Bloomfield Hills home, [the Debtor] did not
              timely pay the court ordered $7,500 status quo amount needed for the
              subsistence of the marital home and related expenses.”62

        •     “Additionally, as reflected in thousands of pages of bank statements, canceled checks,


Mich. R. Spec. P. Mich. Ct. R. 3.206 (bold in original).
        58
             State Court Opinion (Docket # 1-1) at pdf p. 98.
        59
             Id. at pdf p. 100.
        60
             Id.
        61
             Id. at pdf p. 102 (emphasis added).
        62
             Id. at pdf p. 103 (emphasis added).

                                                     36


  24-04021-tjt        Doc 59      Filed 08/19/24     Entered 08/19/24 10:18:32       Page 36 of 54
             credit card statements, FanDuel account records, and the like, [the Debtor] gambled
             tens of thousands of dollars, paid various large sums of money to members of the
             Garelick family for what the [State] Court found to be questionable reasons,
             purchased thousands of dollars of sports memorabilia, ‘invested’ in excess of $60,000
             in cryptocurrency, entertained the children with birthday parties/expensive birthday
             gifts/dinners out/entertainment, and prepaid $48,000 for a two-year lease for his law
             practice. Equally disconcerting, [the Debtor] appeared before the Court in August
             2021 claiming he had no money, and yet, he cashed a life insurance check for
             $75,407.39 on August 3, 2021. Thereafter, he proceeded to wire the funds to his
             FanDuel gambling account where they were depleted. Based on the evidence
             presented to the [State] Court, it was clear [the Debtor] not only sought to
             subvert the Court’s orders, but [the Debtor] likewise sought to hinder Plaintiff
             Mom’s ability to provide for herself and the minor children when they were in
             her care. Unquestionably, [the Debtor’s] conduct was conniving and prompted by a
             desire to diminish the financial resources available to both parties. The ever escalating
             litigation costs in this matter stemmed from [the Debtor’s] unjustified refusal to
             comply with the orders of this Court. [The Debtor] was fully capable of complying
             with this Court’s directives, but he repeatedly sought to evade compliance with a
             litany of incredible justifications. In consequence, an award of attorney fees and costs
             pursuant to the Michigan Court Rules and common law is in order. See MCR
             3.206(D)(2)(b).”63

       It is clear from the reasoning and findings of the State Court Opinion that the State Court

based its award of attorney fees and costs to the Plaintiff on the need to provide for “the suitable

maintenance of the” Plaintiff and the minor children, and that the State Court awarded the

Plaintiff an amount of attorney fees and costs that would enable the Plaintiff “to pay any sums

necessary to enable [her] to carry on or defend the action, during its pendency.” Because the

State Court stated that the award of attorney fees and costs to the Plaintiff was for support of the

Plaintiff and the minor children, and this award had the above listed indicia of support, and

obviously had the actual effect of providing necessary support, the Court concludes that this

award was “in the nature of alimony, maintenance, or support.”

       Based on the foregoing, the Court concludes that under the appropriate analysis required

       63
            Id. at pdf pp. 103-04 (emphasis added).

                                                      37


  24-04021-tjt      Doc 59      Filed 08/19/24        Entered 08/19/24 10:18:32    Page 37 of 54
by Sorah and the other applicable Sixth Circuit cases, there is no genuine dispute of any material

fact, and Plaintiff is entitled to judgment as a matter of law, that all of the Debtor’s debt to the

Plaintiff at issue is in the nature of a support obligation under 11 U.S.C. §§ 101(14A), 523(a)(5),

and 1328(a)(2).

C. The excessiveness issue

       Under Sorah, therefore, the Debtor has a burden of demonstrating “‘that although the

obligation is of the type that may not be discharged in bankruptcy, its amount is unreasonable in

light of the debtor spouse’s financial circumstances.’” Schubiner, 590 B.R. at 394-95 (quoting

Sorah, 163 F.3d at 401).

       More specifically, this means, as the Sixth Circuit stated in Sorah, that:

               the only response available to the debtor spouse is to demonstrate
               that the obligation is unreasonable in light of the debtor’s financial
               circumstances. This is the third prong of the Calhoun test. See
               715 F.2d at 1110. We further note that the bankruptcy court does
               not sit as a super-divorce court to determine the most reasonable
               level of support. Rather, it may consider evidence that the
               obligation is unreasonable and discharge it to the extent that it
               exceeds what the debtor can reasonably be expected to pay.
               Section 523 obviously places no limitation upon a state court’s
               ability to award alimony, maintenance, or support (see Fitzgerald,
               9 F.3d at 521), and the bankruptcy court should not second-guess
               the state court support award absent evidence that the burden on
               the debtor spouse is excessive.

Sorah, 163 F.3d at 402 (italics in original). More recently, this “excessiveness” defense was

described this way by the Sixth Circuit:

               When a debt is in the nature of support, the full debt is
               nondischargeable unless the debt “is so excessive as to be
               unreasonable under traditional concepts of support.” The debt is
               only unreasonable if it “substantially exceed[s]” the debtor’s
               present and foreseeable ability to pay at the time the debt is


                                                  38


  24-04021-tjt     Doc 59     Filed 08/19/24      Entered 08/19/24 10:18:32          Page 38 of 54
                 assumed.

Thomas v. Clark (In re Thomas), 591 F. App’x 443, 446 (6th Cir. 2015) (citations omitted).

       The Debtor seems to argue that the parts of his debt at issue are excessive. As noted in

Part V.A.1 of this Opinion, above, the Debtor has conceded that the child support payments of

$1,430.00 per month and the spousal support payments of $3,300.00 per month are

nondischargeable domestic support obligations. The Debtor argues that the other components of

his debt under the JOD are excessive. These are the additional gross spousal support payments

totaling $105,750.33 (payable at the rate of $1, 390.65 per month); the $98,001.56 “Property

Award;” and the $67,328.13 attorney fees and costs award.

       The Court must reject the Debtor’s “excessiveness” argument. For the following reasons,

the Debtor’s argument is precluded by the findings made by the State Court in the State Court

Opinion and the JOD, which are binding on the Debtor under the doctrine of collateral estoppel.

       As discussed in Part IV.D of this Opinion, the State Court found that the Debtor’s

imputed income was $225,000 per year, and calculated the amount of the Debtor’s child support

and spousal support based on that income. Based on that imputed income, and the fact that the

Debtor, an attorney who was 49 years old at the time of the JOD,64 had earned enough income

previously to support a lavish lifestyle for himself and his family, and has many more years of

earning potential ahead of him, it is clear that the Debtor does have the ability to pay the debt

amounts at issue now and in the future. See generally Luman v. Luman (In re Luman), 238 B.R.

697, 710 (Bankr. N.D. Ohio 1999) (emphasis added) (citations omitted) (the excessiveness

analysis “is normally made by inquiring into whether the debt assumption substantially exceeded


       64
            See State Court Opinion (Docket # 1-1) at pdf p. 5.

                                                    39


  24-04021-tjt      Doc 59      Filed 08/19/24      Entered 08/19/24 10:18:32      Page 39 of 54
the debtor spouse’s present and foreseeable ability to pay the support, as viewed from the

time the debt was assumed.”).

       In addition to the Debtor’s imputed income, the State Court’s Opinion questioned

whether the Debtor had disclosed all of his assets and sources of income. See Part IV.D. of this

Opinion.

       Numerous findings by the State Court indicated that the Debtor had obtained hundreds of

thousands of dollars in recent years, but purported to have spent nearly all of it. But the State

Court also found that the Debtor had been evasive and far from transparent about where the

money came from and what happened to all of the money.

       For example, the State Court Opinion found that the Debtor had created several LLC

entities over the years, and that one of those, Santana Investment Society LLC, had bank

accounts at Comerica Bank. The State Court found that the Debtor “did not voluntarily disclose”

these accounts during discovery, and the Debtor failed to provide details regarding the source of

the funds in these accounts, except to say that the funds “were ‘just given to us.’”65 The State

Court found that “[i]n excess of $850,000 was deposited in the Santana bank accounts, and yet,

no tax returns were ever filed for the corporate entity.”66 The State Court further found that

another corporate entity the Debtor created in 2019, called Matapalo Investments LLC, had been

“used just to ‘hold’ money,” as part of transferring money “back and forth to different

accounts.”67 As the State Court recounted, “[w]hen pointedly questioned why he’d create a new


       65
            See id. at pdf p. 6.
       66
            Id.
       67
            Id. at pdf pp. 6-7.

                                                    40


  24-04021-tjt       Doc 59        Filed 08/19/24   Entered 08/19/24 10:18:32      Page 40 of 54
entity in 2019 to merely transfer cash back and forth, [the Debtor] stated ‘I’m going to plead the

Fifth on that one.’”68

        The State Court found that the Debtor had lost a total of $46,022.58 on gambling during

the first half of 2021, and that the Debtor had invested $82,774 in cryptocurrency, but “[b]y the

conclusion of trial, . . . all money ‘invested’ in the cryptocurrency [had] inexplicably

disappeared.”69

        The State Court also found that the Debtor had made several large, unnecessary

expenditures in June and July 2021, while the divorce case was pending, including a $48,000

pre-payment for a “two-year lease of office space for his Farmington Hills office,” and a $25,350

pre-payment for a “one-year lease for a home” in Waterford, Michigan.70

        The State Court also found that the Debtor received and cashed a life insurance check for

$75,407.39 on August 3, 2021, “following his father’s passing,” but failed to disclose it.71 And

“[i]n short, between June 8, 2021 and August 3, 2021,” the Debtor “unilaterally chose how to

expend sums exceeding several hundreds of thousands of dollars, and it was only through

discovery that this information came to light.”72

        The State Court found that the Debtor was not forthcoming or honest:

                  Extensive evidence was presented at trial regarding [the Debtor’s]


        68
             Id. at pdf p. 7.
        69
             Id. at pdf p. 10.
        70
             Id. at pdf pp. 12-13.
        71
             Id. at pdf p. 13.
        72
             Id. (footnote omitted).

                                                      41


  24-04021-tjt        Doc 59         Filed 08/19/24   Entered 08/19/24 10:18:32    Page 41 of 54
                  questionable financial dealings, history of gambling, and inability
                  to be forthcoming and honest. Indeed, throughout the pendency of
                  this matter, [the Debtor] depleted the family’s financial resources
                  without compunction. Discovery likewise revealed a pattern of
                  blatant and repeated lies.73

The State Court cited as examples of the Debtor’s dishonesty misrepresentations he had made on

applications for two Paycheck Protection Program (PPP) loans, totaling $247,022.93.74 The State

Court emphasized the Debtor’s “lack of candor and lack of credibility” and his “continued

inability or unwillingness to be truthful.”75

        Based on all of the foregoing, this Court must conclude that the Debtor cannot meet his

burden of proving that the amounts the Debtor must pay under the JOD, taken together, are

“unreasonable in light of the [D]ebtor’s financial circumstances,” or that they “exceed[] what the

[D]ebtor can reasonably be expected to pay,” within the meaning of the Sorah case, quoted

above. 76

        This conclusion is bolstered by the following: (1) the broad construction that this Court

must give to the domestic support obligation exception to discharge; (2) the Sixth Circuit’s

instructions in Sorah that “Section 523 obviously places no limitation upon a state court’s ability

to award alimony, maintenance, or support” and that generally, “the bankruptcy court should not

second-guess the state court support award,” Sorah, 163 F.3d at 402; and (3) the Sixth Circuit’s



        73
             Id. at pdf p. 41.
        74
             Id. at pdf pp. 41-42.
        75
             Id. at pdf p. 43.
        76
          It is clear from the Sorah case that the Debtor bears the burden of proof on this issue. See
Sorah, 163 F.3d at 401-02.

                                                      42


  24-04021-tjt        Doc 59         Filed 08/19/24   Entered 08/19/24 10:18:32        Page 42 of 54
holding in the Thomas case, quoted above, that:

               the full [support] debt is nondischargeable unless the debt “is so
               excessive as to be unreasonable under traditional concepts of
               support.” The debt is only unreasonable if it “substantially
               exceed[s]” the debtor’s present and foreseeable ability to pay at
               the time the debt is assumed.

Thomas, 591 F. App’x at 446 (emphasis added) (citations omitted).

D. Collateral estoppel precludes the Debtor from disputing the State Court’s findings,
   including its findings about the Debtor’s income and earning potential.

       The Debtor is precluded, by the doctrine of collateral estoppel, from now disputing the

findings of the State Court described in this Opinion above.

       1. The collateral estoppel elements are met.

       As this Court has previously held, the doctrine of collateral estoppel applies in

nondischargeability proceedings. See, e.g., McCallum v. Pixley (In re Pixley), 456 B.R. 770, 775

(Bankr. E.D. Mich. 2011). “Collateral estoppel . . . prevents a party from relitigating issues of

fact or law which were necessarily decided by a previous final judgment.” Id. (quoting Smith v.

Sushka, 117 F.3d 965, 969 (6th Cir. 1997)).

       Because the JOD in this case is a judgment of a Michigan state court, this Court must

apply the Michigan law of collateral estoppel. See Pixley, 456 B.R. at 775-76. Under Michigan

law, the following requirements must be met in order for collateral estoppel to apply:

               1) there is identity of parties across the proceedings,

               2) there was a valid, final judgment in the first proceeding,

               3) the same issue was actually litigated and necessarily determined
               in the first proceeding, and

               4) the party against whom the doctrine is asserted had a full and


                                                 43


  24-04021-tjt    Doc 59     Filed 08/19/24      Entered 08/19/24 10:18:32         Page 43 of 54
                fair opportunity to litigate the issue in the earlier proceeding.

Pixley, 456 B.R. at 776 (quoting Phillips v. Weissert (In re Phillips), 434 B.R. 475, 485 (B.A.P.

6th Cir. 2010) (citation omitted)).

        All of these requirements are met, with respect to the State Court findings cited above.

The parties are the same; the JOD is a valid, final judgment; all of the State Court findings were

issues that were actually litigated and necessarily determined; and the Debtor had a full and fair

opportunity to litigate the issues. As a result, the Debtor is now precluded from disputing the

State Court findings. To the extent the Debtor is unhappy with those findings or with the JOD,

the Debtor must seek relief from the State Court or from the Michigan Court of Appeals.

        There is no dispute about the first and fourth of the collateral estoppel requirements. And

the third requirement is met, because the State Court’s findings and decision about the

components of the Debtor’s debt to the Plaintiff under the JOD were actually litigated, through

extensive motion practice and 11 days of trial, and all of the State Court’s findings cited and

quoted in this Opinion were necessary to the State Court’s decision reflected in the JOD.

        As for the second collateral estoppel requirement, the Debtor argues that the JOD is not a

final judgment.77 The Plaintiff disagrees. The Court concludes that the JOD is a final judgment.

        2. The JOD is a final judgment.

        The Debtor argues that the JOD is not a final order because there are still issues to be



        77
            Despite making this argument, the Debtor also points out that he is currently appealing the
State Court’s support order. The record is not entirely clear that this is so, but even if it is, collateral
estoppel still applies. See Taleb v. Kramer (In re Kramer), 543 B.R. 551, 559 (Bankr. E.D. Mich. 2015)
(“[T]he Court concludes that under Michigan law, a final (i.e., not interlocutory) judgment has preclusive
effect under the doctrine of collateral estoppel (also known as issue preclusion), even when the judgment
is on appeal or the time for appeals has not yet expired.”).

                                                    44


  24-04021-tjt      Doc 59      Filed 08/19/24      Entered 08/19/24 10:18:32           Page 44 of 54
determined in the divorce case, including issues relating to his personal property.78 In support of

this argument, the Debtor relies, in part, on the following portion of the State Court Opinion,

filed January 17, 2023:

                 The Court was not provided at trial with a list of the personal
                 property in dispute; however, the parties submitted proposed
                 findings of fact and conclusions of law in which Plaintiff Mom
                 [(Jillian Clark)] requested all of the items remaining in the marital
                 home and [the Debtor] [(Richard Clark)] itemized a list of various
                 items (labeled A-P) which he requested be awarded to him.
                 Because no valuation for the items was provided, the Court simply
                 cannot allocate the personal items in dispute without additional
                 insight from the parties. For example, [the Debtor] requested any
                 remaining surfboards, skateboards, a Joe Montana picture, poker
                 chips, tools, all Grateful Dead cassette tapes, and various camping
                 gear to name but a few of the listed items. If the parties cannot
                 independently reach an agreement regarding the distribution
                 of these items and/or any credit [the Debtor] is entitled to on
                 his arrearage for those personal property items which were
                 previously sold, counsel is directed to contact chambers for a
                 further hearing date on the matter. With respect to [the
                 Debtor]’s request for those personal items from his youth or given
                 to him as gifts from his family (Gold chain from his bar mitzvah,
                 batman/superman watches from childhood, wedding band, and his
                 father's toolbox), these items and his remaining clothing and shoes
                 shall be promptly turned over to [the Debtor].79

The Debtor also alleges that there were multiple post-judgment hearings in which he alleges that

the State Court and the parties discussed further trial dates regarding disputed property that

remained in the marital home.80

       For the following reasons, the Court agrees with the Plaintiff that the JOD is a final


       78
            See Def.’s Br. in Resp. to Pl’s Mot. for Summ. J. (Docket # 27 ) at 7-10.
       79
            See id. at 8 (emphasis added) (relying on the State Court Opinion (Docket # 1-1) at pdf pp. 84-
85).
       80
            See id.

                                                    45


  24-04021-tjt        Doc 59    Filed 08/19/24      Entered 08/19/24 10:18:32           Page 45 of 54
judgment for purposes of collateral estoppel. Initially, however, it should be noted that the JOD

does not need to be a final judgment in order to be deemed a domestic support obligation. As the

Debtor conceded during the hearing on the Motion, it is possible for a non-final order entered in

a divorce case, such as an interim support order, to be a domestic support obligation. The

Bankruptcy Code’s definition of a “domestic support obligation” does not require that the state

court order be a final order. The issue of whether the JOD is a final judgment matters only to

determine whether the Debtor is precluded, by collateral estoppel, from now contesting the State

Court’s findings. Those findings are quoted extensively in this Opinion primarily because they

show that the Debtor’s payment obligations in the JOD are not excessive, under the Sorah

analysis above. See Parts IV.D and V.C of this Opinion.

       In any event, the JOD is a final judgment for collateral estoppel purposes.

       Mich. Comp. Law § 7.202(6)(a)(i) defines “final judgment” or “final order.” It states, in

relevant part:

                 (6) “final judgment” or “final order” means:

                 (a) In a civil case,

                     (i) the first judgment or order that disposes of all the claims and
                     adjudicates the rights and liabilities of all the parties, including
                     such an order entered after reversal of an earlier final judgment or
                     order[.]

       Michigan Court Rule 2.602(A)(3) states: “Each judgment must state, immediately

preceding the judge’s signature, whether it resolves the last pending claim and closes the case.

Such a statement must also appear on any other order that disposes of the last pending claim and

closes the case.”



                                                  46


  24-04021-tjt      Doc 59      Filed 08/19/24    Entered 08/19/24 10:18:32         Page 46 of 54
       Under Mich. Comp. Laws § 600.308(1) and Mich. Ct. R. 7.203(A)(1), the Michigan

Court of Appeals has jurisdiction over, and parties have an appeal of right in, all appeals from

final judgments and final orders from the circuit court. Mich. Comp. Laws § 600.308(1) states:

                       (1) The court of appeals has jurisdiction on appeals from all
               final judgments and final orders from the circuit court, court of
               claims, and probate court, as those terms are defined by law and
               supreme court rule, except final judgments and final orders
               described in subsections (2) and (3). A final judgment or final
               order described in this subsection is appealable as a matter of right.

       Michigan Court Rule 7.203 also concerns the jurisdiction of the Michigan Court of

Appeals. It states, in relevant part:

               (A) Appeal of Right. The court has jurisdiction of an appeal of
               right filed by an aggrieved party from the following:

               (1) A final judgment or final order of the circuit court, or court of
               claims, as defined in MCR 7.202(6) . . . An appeal from an order
               described in MCR 7.202(6)(a)(iii)-(v) is limited to the portion of
               the order with respect to which there is an appeal of right.

Mich. Ct. R. 7.203(A)(1) (bold in original).

       Language in a judgment or order stating that the judgment or order is a final order in

compliance with Mich. Ct. R. 2.602(A)(3) is not controlling with regard to the jurisdiction of the

Michigan Court of Appeals over that judgment or order, and the Michigan Court of Appeals’

exercise of jurisdiction over an appeal of a judgment or order from the circuit court is not proof

of the finality of that judgment or order. Palka v. AAA of Michigan, No. 361695, 2024 WL

1597353, at *3 n.4 (Mich. Ct. App. Apr. 11, 2024); Stumbo v. Roe, 957 N.W.2d 830, 833 n.1

(Mich. Ct. App. 2020). To determine whether a judgment or order appealed from is “final,”

Michigan courts will look at whether that judgment or order states that it is a final order, and will



                                                 47


  24-04021-tjt     Doc 59     Filed 08/19/24     Entered 08/19/24 10:18:32         Page 47 of 54
also look at the manner in which that judgment or order was entered. See Palka, 2024 WL

1597353, at *3-4.

       In this case, the JOD contained the language required by Mich. Ct. R. 2.602(A)(3), which

indicates that it was a final judgment. Paragraph XII.L of the JOD states, in relevant part:

                 As may be required by MCR 2.60[2](A)(3), the Judgment of
                 Divorce resolves the last pending claims between the parties as to
                 property division and resolves, subject to further order of the court,
                 the parties’ last pending claims as to the issues of custody,
                 parenting time, child support and spousal support.81

       The State Court again referred to the JOD as a final order in its April 27, 2023 Opinion

and Order entitled “OPINION AND ORDER DENYING PLAINTIFF'S APRIL 25, 2023

EX-PARTE REQUEST TO PROCEED ON MOTION TO MODIFY CHILD SUPPORT

AND SPOUSAL SUPPORT WITHOUT POSTING SECURITY OF COSTS PURSUANT

TO MCR 2.109 AND WAIYER OF ORAL ARGUMENT PURSUANT TO MCR

2.119(E)(3)” (the “April 27, 2023 Opinion and Order”).82 The April 27, 2023 Opinion and Order

stated, in relevant part: “By way of brief chronology, trial concluded in December 2022, this

Court issued its opinion in January 2023, and it was not until April 2023 that a final Judgment of

Divorce and corresponding support orders were entered in this matter.”83 This shows that the

State Court intended the JOD, filed April 6, 2023, to be a final order, and believed it was so.

       In addition, the manner in which, and the circumstances under which, the JOD was

entered supports the conclusion that it was a final judgment. The JOD was entered more than


       81
            See JOD (Docket # 1-2) at pdf p. 20 ¶ XII.L.
       82
            See Pl.’s Suppl. (Docket # 42) at pdf p. 53 (capitalization and bold emphasis in original).
       83
            Id. (emphasis added).

                                                     48


  24-04021-tjt      Doc 59      Filed 08/19/24       Entered 08/19/24 10:18:32           Page 48 of 54
two months after the January 17, 2023 State Court Opinion was entered. This was more than

enough time for the parties, in the words of the State Court Opinion, to either “independently

reach an agreement regarding the distribution of the [] items” the Debtor listed “(labeled A-P),

which the [the Debtor] requested be awarded to him, . . . and/or any credit [the Debtor] is entitled

to on his arrearage for those personal property items which were previously sold,” or if the

parties were not able to reach an agreement, “to contact chambers for a further hearing date on

the matter.”84 It is undisputed that neither of the parties contacted the chambers of the State

Court for a hearing on the personal property allegedly in dispute, in the more than two months

between entry of the State Court Opinion on January 17, 2023 and the entry of the JOD on April

6, 2023. And at the hearing on the Plaintiff’s Motion in this Court, the Debtor admitted that, to

the best of his knowledge, as of the date of that hearing, neither party had contacted the chambers

of the State Court for a hearing on the matter.

       Given the ample opportunity the State Court gave the parties to pursue any dispute they

had regarding the distribution of personal property after entry of the State Court Opinion, and the

failure of the parties to contact the State Court’s chambers for a hearing, as permitted by the State

Court Opinion, the State Court was justified in concluding that the parties had either

independently come to an agreement with regard to the property division, or that they no longer

wished to pursue any dispute regarding personal items remaining in the marital home.

       The State Court Opinion, filed on January 17, 2023, itself was entered after giving the

parties to the divorce an extensive opportunity to litigate all issues in the case, including the

division of personal property. As the State Court explained in the State Court Opinion, such


       84
            See State Court Opinion (Docket # 1-1) at pdf pp. 84-85.

                                                   49


  24-04021-tjt      Doc 59     Filed 08/19/24      Entered 08/19/24 10:18:32        Page 49 of 54
opinion was entered after exhaustive litigation of all the issues to be decided in a judgment of

divorce, which included many hearings, and a long trial. The State Court stated:

                 From the very outset of these proceedings and throughout the
                 pendency of this matter, the parties have appeared before the Court
                 on countless motions, show cause hearings, and other related
                 matters.[Footnote 1] In excess of thirty motions were contained in
                 the Court records prior to the completion of trial, and the Court
                 heard hours of testimony relative to show cause hearings. . . . [End
                 of Footnote 1] Indeed, trial in this matter was initially completed
                 on September 13, 2022; however, the level of discord between the
                 parties and the open display of hostility during court proceedings
                 prompted the Court to reopen proofs.[Footnote 2] Trial in this
                 matter began on March 21, 2022, and the parties appeared on April
                 5, 2022, June 21, 2022, August 1, 2022, August 2, 2022,
                 September 12, 2022, and September 13, 2022 before such time as
                 the trial was presumptively completed. On the first day of trial, the
                 parties advised the Court they were entering into an interim
                 stipulated order on custody and parenting time with the hope the
                 interim order would be incorporated in the final Judgment of
                 Divorce. Based on the Court’s refusal to accept the parties’
                 stipulated order relative to joint legal custody, the Court reopened
                 proofs to allow additional testimony on the custodial issue.
                 Additional testimony was elicited on November 22, 2022,
                 November 29, 2022, December 12, 2022 and December 22, 2022.
                 [End of Footnote 2] The reopening of proofs culminated in four
                 additional days of testimony relative to the joint legal custody
                 issue.85

       The JOD also described the extensive proceedings that led to the entry of that judgment,

and it incorporated prior rulings of the State Court, as stated in the preamble to its ruling:

                         This matter having come on to be heard upon the Plaintiff
                 Wife’s Complaint for Divorce filed herein; this Court having
                 conducted a trial in this matter over 11 dates, and this Court having
                 issued its Opinion and Order on January 17, 2023; Plaintiff having
                 thereafter filed a Motion to Correct Errors and Omissions, the
                 parties and their counsel having appeared by Zoom on February 23,
                 2023 for a status conference and a hearing on the Motion, and the


       85
            Id. at pdf pp. 2-3.

                                                   50


  24-04021-tjt       Doc 59       Filed 08/19/24   Entered 08/19/24 10:18:32        Page 50 of 54
                  Court having made rulings on February 23, 2023 on the record; the
                  relief granted by the Court in its January 17, 2023 Opinion and
                  Order and at the February 23, 2023 motion hearing, all of which
                  are fully incorporated into this Judgment as though fully set forth
                  herein; and evidence having been taken in open Court from which
                  it satisfactorily appears to this Court that there has been a
                  breakdown in the marital relationship to the extent that the objects
                  of matrimony have been destroyed and there remains no reasonable
                  likelihood that the marriage can be preserved:

                  IT IS ORDERED: . . .86

        After reciting the lengthy history of the case and incorporating prior rulings, the JOD

dissolved the marriage of the parties and stated the terms of the divorce. Those terms included

provisions regarding child support for the minor children; spousal support; and the division of

property.87 Paragraph VIII, entitled “PROPERTY DIVISION” contains a general provision that

applies to both parties; a provision that lays out in detail what specific property is being awarded

to Jillian Clark; and a provision that lays out in detail what specific property is being awarded to

the Debtor Richard Clark.88 The JOD, which was entered more than two months after the State

Court Opinion, does not mention any outstanding dispute regarding personal property such as the

one that was described in the State Court Opinion. And the section in the property division part

of the JOD listing what disputed personal property the Debtor Richard Clark is awarded appears

on its face to be complete, and to resolve the property division issues.89 It states that Richard



        86
             JOD (Docket # 1-2) at pdf pp. 2-3.
        87
             See id. at pdf pp. 9-11, 13-15, ¶¶ IV (child support), V (spousal support), VIII (property
division).
        88
             See id. at pdf pp. 13-15, ¶¶ VIII.A-VIII.C (bold, capitalization, and underlining in original).
        89
             See id. at pdf p. 15, ¶ VIII.C.6.

                                                       51


  24-04021-tjt        Doc 59      Filed 08/19/24       Entered 08/19/24 10:18:32           Page 51 of 54
Clark is awarded:

                 6. All of his jewelry, personal belongings and personal effects,
                    premarital items and items gifted to him, and any and all
                    property and furnishing in his possession. Specifically, Plaintiff
                    is required to turn over to Defendant, if in her possession, and
                    by arrangement between the parties the following items:

                          ii.       Gold chain from Defendant’s bar mitzvah;

                          iii.      Batman/Superman watches from his
                                    childhood;

                          iv.       His wedding band;

                          v.        His father's toolbox;

                          vi.       Any remaining clothing/shoes in the marital
                                    home.90

       For these reasons, both the language in JOD, and the manner in which that judgment was

entered, show that such judgment was a final judgment for purposes of collateral estoppel.

       Finally, the Court notes that Michigan courts treat judgments of divorce as final

judgments for the purposes of both res judicata and collateral estoppel. See Shipley v. Shipley,

No. 224104, 2000 WL 33406540, at *2 (Mich. Ct. App. Oct. 20, 2000) (citations omitted) (“Just

as a judgment of divorce is considered a final judgment entitled to preclusive effect under the

doctrine of res judicata, by analogy, a judgment of divorce is also a final judgment entitled to

preclusive effect under the doctrine of collateral estoppel.”).

       Because of collateral estoppel, the Debtor is precluded from contesting the State Court’s

findings that are quoted and cited in this Opinion.

E. The Debtor’s other arguments are without merit.


       90
            Id. (error in lettering in original).

                                                      52


  24-04021-tjt       Doc 59       Filed 08/19/24      Entered 08/19/24 10:18:32    Page 52 of 54
       The Debtor argues that it is impossible to determine what the State Court decided or what

it based its findings on. But the Court disagrees; the Debtor’s argument is undercut by a careful

reading of the State Court’s lengthy and very detailed writings — i.e., the State Court Opinion

and the JOD.

       The Debtor also argues, vehemently, that the State Court judge in the divorce case was

biased against the Debtor and actually is corrupt, and that the JOD and the State Court Opinion

are wrong and unjust in many ways, are not based on evidence, and are contrary to the evidence

presented. All of these harsh criticisms are ones that the Debtor must take up in the state court

system, by seeking relief in the State Court from the JOD and/or by appealing the JOD. These

arguments are not ones this bankruptcy court may consider; that is precluded by collateral

estoppel.

       This Court also is precluded from considering the Debtor’s arguments by the Rooker-

Feldman doctrine. In making these arguments in this Court, the Debtor in effect is making an

impermissible collateral attack on a state court judgment.

       The Rooker–Feldman doctrine applies to “cases brought by state-court losers complaining

of injuries caused by state-court judgments rendered before the district court proceedings

commenced and inviting district court review and rejection of those judgments.” Exxon Mobil

Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005). The Rooker-Feldman doctrine bars

“a party losing in state court . . . from seeking what in substance would be appellate review of the

state judgment in a United States district court[.]” Johnson v. De Grandy, 512 U.S. 997,

1005–06 (1994). Under the Rooker-Feldman doctrine, a bankruptcy court may not serve as a

court of appeals for the state court.


                                                53


  24-04021-tjt     Doc 59     Filed 08/19/24    Entered 08/19/24 10:18:32         Page 53 of 54
                  Rooker/Feldman has often been applied to preclude bankruptcy
                  court review of state court decisions. See Reitnauer v. Texas
                  Exotic Feline Found., Inc. (In re Reitnauer), 152 F.3d 341 (5th
                  Cir.1998); Baldino v. Wilson (In re Wilson), 116 F.3d 87 (3d
                  Cir.1997); Goetzman [v. Agribank, FCB (In re Goetzman)], 91
                  F.3d [1173,] 1177 [8th Cir. 1996)]; Besing v. Hawthorne (In re
                  Besing), 981 F.2d 1488, 1496 (5th Cir.) (“‘The Bankruptcy Code
                  was not intended to give litigants a second chance to challenge a
                  state court judgment nor did it intend for the Bankruptcy Court to
                  serve as an appellate court.’”) (quoting G & R Mfg. Co. v. Gunia
                  (In re G & R Mfg. Co.), 91 B.R. 991, 994 (Bankr. M.D. Fla.1988)),
                  cert. denied, 510 U.S. 821, 114 S. Ct. 79, 126 L. Ed. 2d 47 (1993);
                  Ferren v. Searcy Winnelson Co. (In re Ferren), 227 B.R. 279
                  ([B.A.P.] 8th Cir. [] 1998); Hatcher [v. United States Trustee (In re
                  Hatcher)], 218 B.R. [441,] 446–47 [(B.A.P. 8th Cir. 1998)]; [In
                  re] Johnson, 210 B.R. [1004,] 1006 (Bankr. W.D. Tenn. 1997)];
                  Beardslee v. Beardslee (In re Beardslee), 209 B.R. 1004 (Bankr.
                  D. Kan. 1997).

Singleton v. Fifth Third Bank of Western Ohio (In re Singleton), 230 B.R. 533, 537–38 (B.A.P.

6th Cir. 1999).

VI. Conclusion

       For the reasons stated in this Opinion, the Plaintiff is entitled to summary judgment. The

Court will enter a separate order granting the Plaintiff’s Motion, and determining that all of the

Debtor’s debt to the Plaintiff under the JOD that is listed in Part IV.B of this Opinion is

nondischargeable as a “domestic support obligation.”



Signed on August 19, 2024




                                                   54


  24-04021-tjt       Doc 59     Filed 08/19/24     Entered 08/19/24 10:18:32        Page 54 of 54
